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                    ATTACHMENT
                               A
                   Redacted Docket Materials
     Case
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UNITED STATES MAGISTRATE JUDGE
U.S. DISTRICT COURT BUILDING
WASHINGTON, D.C.
PLEASE ISSUE:         n     Arrest      i   Search     i   Seizure


warrant for:           IN THE MATTER OF THE SEARCH OF INFORMATION
                       ASSOCIATED WITH FIVE ACCOUNTS STORED AT PREMISES
                       CONTROLLED BY FACEBOOK PURSUANT TO 18 U.S.C. § 2703
                       FOR INVESTIGATION OF VIOLATION OF 18 U.S.C. § 1512




Violation:     n   D.C.C.   n U.S.C.                 Title: 18

Section(s):    1343, 1001(a)(2), 1512



     /s/
                                                     4/3/2020
Tejpal S. Chawla                                     Date
Assistant United States Attorney
(202) 252-7




COMPLETE FOR ALL ARREST WARRANTS:

The following information must be provided for ALL arrest warrants and an original and
duplicate of this form must be submitted to the Clerk's Office with the warrant papers.

Officer / Agent Name:

Badge Number:

Agency / Unit:

24 Hour Telephone Number:
 (For officer/agent

Cellular Number:
(For officer/agent
                       Case
                     Case    1:22-sc-09999-UNA
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    AO 116A (08/1Fili Application fora Warrant 1:i), Telephone or Other Reliable Electronic Means


                                            UNITED STATES DISTRICT COURT
                                                                                for the
                                                                    District of Columbia

                  In the Matter of the Search of
           (Briefly describe the property to be searched
            or idenM., the_person by name and address)
IN THE MATTER OF THE SEARCH OF INFORMATION ASSOCIATED WITH                                          Case No, 20-sc-00732
FIVE ACCOUNTS STORED AT PREMISES CONTROLLED BY FACESOOK )
PURSUANT TO 18 U.S.C. § 2703 FOR INVESTIGATION OF VIOLATION OF )
                           18 U.S.C.§1512

       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           1, a federal law enforcement officer or an attorney for the government, request a search warrant and state
   penalty of perjury that I have reason to believe that on the following person or property (idenrib the person or describeunder
                                                                                                                             the
   properly to be searched andgive its locution):
     See Attachment A, hereby incorporated by reference

   located in the            Northern                 Distfict of                    Caillomia                 , there is now concealed (identify the
   person or describe the property to be seized):
    See Attachment B, hereby incorporated by reference


             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  Cr evidence of a crime;
                  D contraband, fruits of crime, or other items illegally possessed;
                    fi property designed for use, intended for use, or used in committing a crime;
                    0 a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
             Code Section                                                           Offense Description
         18 U.S.C. § 1343                             Wire Fraud
         18 U.S.C. § 1001(a)(2)                       Material False Statements in an Investigation Involving International Terrorism
         18 U.S.C. § 1512                             Obstruction of Justice- Witness Tampering
           The application is based on these facts:
          See Attached Affidavit

             0 Continued on the attached sheet.
             0 Delayed notice of        days (give exact ending date if more than 30 days:                                        ) is requested under
               18 U.S.C. § 3103a, the basis of which i




  Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                        telephone                       (sped reliable electronic means).


 Date:             04/03/2020
                                                                                                              Judge's signature
  City and state: Washington, D.C.                                                                         Deborah A, Robinson
                                                                                                            Printed name and tide
                   Case 1:20-sc-00732-DAR
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AO 93C (�����) �������������������������������������������������������               � Original                � Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 20-sc-00732
IN THE MATTER OF THE SEARCH OF INFORMATION ASSOCIATED WITH
 FIVE ACCOUNTS STORED AT PREMISES CONTROLLED BY FACEBOOK                    )
PURSUANT TO 18 U.S.C. § 2703 FOR INVESTIGATION OF VIOLATION OF              )
                         18 U.S.C. § 1512                                   )

                 �������������������������������������������������������
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search�������������
of the following person or property located in the�                        Northern  District of            California
(identify the person or describe the property to be searched and give its location):
  See Attachment A, hereby incorporated by reference




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B, hereby incorporated by reference.




        YOU ARE COMMANDED to execute this warrant on or before                   April 17, 2020        (not to exceed 14 days)
      � in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               � at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                       Deborah A. Robinson                   .
                                                                                                  (United States Magistrate Judge)

     � Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     � for         days (not to exceed 30) � until, the facts justifying, the later specific date of                                   .


Date and time issued:          04/03/2020
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                        U.S. Magistrate Judge Deborah A. Robinson
                                                                                                        Printed name and title
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AO 93� (�����) ��������������������������������������������������������(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 20-sc-00732
Inventory made in the presence of :

Inventory of the property taken and name��� of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                     ATTACHMENT A
                                   Property to Be Searched


       This warrant applies to information which is associated with the Facebook, Inc. accounts

identified by Facebook User IDs

                    and Instagram Account                          User ID            , and which

is stored at premises owned, maintained, controlled, or operated by Facebook, Inc., a company that

accepts service of legal process at 1601 Willow Road, Menlo Park, California.
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                                      ATTACHMENT B

                        Particular Things to be Seized and Procedures
                            to Facilitate Execution of the Warrant

       I. Information to be disclosed by Facebook, Inc. (“Facebook”) to facilitate execution
of the warrant

               To the extent that the information described in Attachment A is within the

possession, custody, or control of Facebook, including any records that have been deleted but are

still available to Facebook, or have been preserved pursuant to a request made under 18 U.S.C.

§ 2703(f), Facebook is required to disclose the following information to the government

corresponding to each account or identifier (“Account”) listed in Attachment A:

       a.      For the time period from May 16, 2019 to the Present: The contents of any

available messages or other communication associated with the Account (including, but not limited

to, messages, attachments, draft messages, posts, chats, video calling history, “friend” requests,

discussions, recordings, images, or communications of any kind sent to and from the Account,

including stored or preserved copies thereof) and related transactional records for all Facebook

services used by an Account subscriber/user, including the source and destination addresses and

all Internet Protocol (“IP”) addresses associated with each message or other communication, the

date and time at which each message or other communication was sent, and the size and length of

each message or other communication;

       b.      For the time period from May 16, 2019 to the Present: All photos and videos

uploaded by the Account and all photos or videos uploaded in which the Account has been

“tagged”, including Exchangeable Image File (“EXIF”) data and any other metadata associated

with those photos and videos;
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       c.      Basic subscriber records and login history, including all records or other

information regarding the identification of the Account, to include full name, physical address,

telephone numbers, birthdate, security questions and passwords, and other personal identifying

information, records of session times and durations, the date on which the Account was created,

the length of service, types of services utilized by the Account, the IP address used to register the

Account, log-in IP addresses associated with session times and dates, account status, alternative e-

mail addresses provided during registration, methods of connecting, log files, means and source of

payment (including any credit or bank account number), and any account(s) linked by machine

cookies (meaning all Facebook user identification numbers (“user IDs”) that logged into Facebook

by the same machine as the Account;

       d.      For the time period from May 16, 2019 to the Present: All records or other

information related to the Account, including address books, contact and “friend” lists, calendar

data, and files; profile information; “News Feed” information; “Wall” postings; Notes; groups and

networks of which the Account is a member; future and past event postings; rejected “friend”

requests and blocked users; status updates (including relationship status updates); comments; gifts;

“pokes”; “tags”; the account’s usage of the “like” feature, including all Facebook posts and all

non-Facebook webpages and content that the user has “liked”; searches performed by the Account;

privacy settings, including privacy settings for individual Facebook posts and activities;

information about the Account’s access and use of Facebook applications; and the Account’s

access and use of Facebook Marketplace;

       e.      For the time period from May 16, 2019 to the Present: All “check ins” and other

location information;
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          f.   For the time period from May 16, 2019 to the Present: All records pertaining to

communications between Facebook and any person regarding the Account, including contacts with

support services and records of actions taken;

          g.   All records pertaining to devices associated with the Account and software used to

create and access the Account, including device serial numbers, instrument numbers, model

types/numbers, International Mobile Equipment Identities (“IMEI”), Mobile Equipment

Identifiers (“MEID”), Global Unique Identifiers (“GUID”), Electronic Serial Numbers (“ESN”),

Android Device IDs, phone numbers, Media Access Control (“MAC”) addresses, operating system

information, browser information, mobile network information, information regarding cookies and

similar technologies, and any other unique identifiers that would assist in identifying any such

device(s) including unique application numbers and push notification tokens associated with the

Account (including Apple Push Notifications (“APN”).

          h.   All information held by Facebook related to the location and location history of the

user(s) of the Account, including geographic locations associated with the Account (including

those collected for non-Facebook based applications), IP addresses, Global Positioning System

(“GPS”) information, and information pertaining to nearby devices, Wi-Fi access points, and cell

towers;

          i.   Information about any complaint, alert, or other indication of malware, fraud, or

terms of service violation related to the Account or associated user(s), including any memoranda,

correspondence, investigation files, or records of meetings or discussions about the Account or

associated user(s) (but not including confidential communications with legal counsel); and
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       j.      All information held by Facebook related to any fmancial transactions, fmancial

records, or documentation, including credit card information, account information, receipts, notes,

and ledgers.

       Within 14 days of the issuance of this warrant, Facebook shall deliver the information set

forth above via United States mail, courier, or e-mail to the following:
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       II. Information to be seized by the government

       All information described above in Section I that constitutes evidence, fruits, and

instrumentalities of violations of Title 18 U.S.C. §1343, Wire Fraud, Title 18 U.S.C. § 1001,

Material False Statements involving international terrorism, Title 18 U.S.C. §1512,

Obstruction - Witness Tampering, as described in the affidavit submitted in support of this

Warrant, including, for each Account, information pertaining to the following matters:

           (a) Information that constitutes evidence of the identification or location of the user(s)

              of the Account;

           (b) Information that constitutes evidence concerning persons who either (i)

              collaborated, conspired, or assisted (knowingly or unknowingly) the commission

              of the criminal activity under investigation; or (ii) communicated about matters

              relating to the criminal activity under investigation, including records that help

              reveal their whereabouts;

           (c) Any records, discussion, records, photographs, or information related to support of

              designated foreign terrorist organizations and entities (FTOs), including, but not

              limited to, ISIS and S-1;

           (d) Information that constitutes evidence indicating the Account user’s state of mind,

              e.g., intent, absence of mistake, or evidence indicating preparation or planning,

              related to the criminal activity under investigation;

           (e) Information that constitutes evidence concerning how and when the Account was

              accessed or used, to determine the geographic and chronological context of account

              access, use, and events relating to the crime under investigation and to the Account

              user;
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      (f) Any records, communications, photographs, documents, logs, media files, or

          attachments made or sent by the Account user regarding Grand Jury testimony or

          information provided by witnesses to the Government;

      (g) Any records, communications, photographs, documents, logs, media files, or

          attachments relating to statements made by the Account user regarding on-line chat




      (h) Records, communications, drafts, videos, photographs and other material that is

          communicated through on-line chat rooms, social media platforms, or video-

          sharing websites;

      (i) Records, communications or other material that discuss a pending grand jury,

          criminal investigations by the FBI, and/or the identity or location of potential

         witnesses;

      (j) All records, communications, drafts, or other material that discuss ISIS; any

          FTOs; terrorist attacks, actions, communications, or planning; foreign terrorist

          organizations, or persons who have ever sought to travel to ISIS territory;

      (k) All records, communications, documents, material, videos, and posters related to

          operation of S-1's on-line chat room, social media platforms, and the

          communications of all administrators;

      (1) Evidence of solicitation of money or re-distribution of solicited money;

      (m)Information that constitutes evidence concerning fundraising, transfer of money,

          conversion of money, concealing information about transactions, wire fraud or
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          other financial fraud by the Account user, persons communicating with the Account

          user, or others connected to S-1;

      (n) Evidence related to the deletion, removal or destruction of possible evidence of

          possible criminal activity, including electronic information (including user-

          generated content and content which the user received), phones, computers, files,

          documents, photographs or other media;

      (o) Records of or information about Internet Protocol addresses associated with the

          Account and its activity;

      (p) Records, communications, drafts, photographs, videos, or other material that

          discuss traveling overseas to live in a country where ISIS was present, join a foreign

          terrorist organization, or avoid detection by law enforcement;

      (q) Records, communications, drafts, videos, photographs and other material that is

          communicated through on-line chat rooms, social media platforms, or video-

          sharing websites that host or contain content produced by S-1, ISIS-affiliated

          organizations, or any other foreign terrorist organization;

      (r) Information related to financial information, accounts, ledgers, and access to

          monetary instruments, goods, and funds, including use of intermediaries to disperse

          or collect funds and goods;

      (s) Evidence related to the Account user’s deletion of electronic information, including

          emails, documents, receipts, and transactions related to S-1 or any person connected

          with S-1; and,

      (t) Evidence related to the Service Provider’s deactivation of accounts, where

          applicable, and the Terms of Service which were violated.
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          As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); draft or deleted records; and any photographic form (such as microfilm, microfiche,

prints, slides, negatives, videotapes, motion pictures, or photocopies).

   III.       Government procedures for warrant execution

          The United States government will conduct a search of the information produced by

Facebook and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States. The review of electronic data produced by Facebook in response to

this warrant may be conducted by any government personnel assisting the investigation, who may

include, in addition to law enforcement officers and agents, analysts, attorneys for the government,

attorney support staff, and technical experts. Pursuant to this warrant, the FBI may deliver a

complete copy of the seized, copied, or disclosed electronic data to the custody, control of attorneys

for the government and their support staff for their independent review.

          Law enforcement personnel will then seal any information from Facebook that does not

fall within the scope of Section II and will not further review the information absent an order of

the Court. Such sealed information may include retaining a digital copy of all information received

pursuant to the warrant to be used for authentication at trial, as needed.
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                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)

        I, _________________________________, attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. I am employed by _________________________________
(“PROVIDER”), and my title is ____________________________________________________.
I am a custodian of records for PROVIDER, and I am qualified to authenticate the records attached
hereto because I am familiar with how the records were created, managed, stored, and retrieved. I
state that the records attached hereto are true duplicates of the original records in the custody of
PROVIDER. The attached records consist of:

        ________________________________________________________________________
        [GENERALLY DESCRIBE RECORDS (pages/CDs/megabytes)]

        I further state that:

        a.     all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with knowledge
of those matters, they were kept in the ordinary course of the regularly conducted business activity
of PROVIDER, and they were made by PROVIDER as a regular practice; and

      b.      such records were generated by PROVIDER’s electronic process or system that
produces an accurate result, to wit:

                1.     the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of PROVIDER in a manner to ensure that they are true duplicates of the
original records; and

                2.     the process or system is regularly verified by PROVIDER, and at all times
pertinent to the records certified here the process and system functioned properly and normally.

       I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the
Federal Rules of Evidence.




 Date                                 Signature
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH                        Case No. 20-sc-00732
 FIVE ACCOUNTS STORED AT
 PREMISES CONTROLLED BY
 FACEBOOK, INC. PURSUANT TO 18
 U.S.C. § 2703 FOR INVESTIGATION OF                 Filed Under Seal
 VIOLATION OF 18 U.S.C. § 1512


Re erence: USAO                         ub'ect Accounts: Facebook User IDs
                                                                  and Instagram             Account
                      with User ID

                              AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

       1                                                                                      being

first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

       1.        I make this affidavit in support of an application for a search warrant for

information associated with four Facebook accounts — that is, User IDs

                                           and                     — stored at the premises owned,

maintained, controlled, or operated by Facebook, Inc., an electronic communications services

provider and/or remote computing services provider which is headquartered at / which accepts

service at 1601 Willow Road, Menlo Park, California. Additional) this application for a search

warrant requests information associated with the Instagram accou                              ser ID

            ) that is stored at premises owned, maintained, controlled, or operated by Facebook, Inc.

The information to be searched is described in the following paragraphs and in Attachment A.

This affidavit is made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),
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2703(b)(1)(A) and 2703(c)(1)(A) to require Facebook, Inc. ("Facebook" or the "Provider") to

disclose to the government copies of the information (including the content of communications)

further described in Section I of Attachment B. Upon receipt of the information described in

Section I of Attachment B, government-authorized persons will review that information to locate

the items described in Section II of Attachment B, using the procedures described in Section III of

Attachment B.




       3.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is



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intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

        4.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that

                 has committed violations of 18 U.S.C. §1343 (Wire Fraud), 18 U.S.C. §1001(a)(2)

(material false statements in an investigation involving international terrorism); and violations of

18 U.S.C. § 1512 (Obstruction of Justice—Witness Tampering) have been committed by



                There is also probable cause to search the information described in Attachment A

for evidence, instrumentalities, or fruits of these crimes further described in Attachment B.

                                           JURISDICTION

        5.      Pursuant to 18 U.S.C. §§ 2703(a), (b)(1)(A) & (c)(1)(A), the Government may

require a provider of an electronic communications service or a remote computing service, such

as the Provider, to disclose all stored content and all non-content records or other information

pertaining to a subscriber, by obtaining a warrant issued using the procedures described in the

Federal Rules of Criminal Procedure.

        6.      This Court has jurisdiction to issue the requested warrant because it is a "court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is "a district court of the United States . . . that — has jurisdiction

over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

acts or omissions in furtherance of the offenses under investigation occurred within Washington,

D.C., see 18 U.S.C. § 3237. Additionally,                                                         and the



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criminal offenses under investigation began or were committed upon the high seas, or elsewhere

out of the jurisdiction of any particular State or district. See 18 U.S.C. § 3238.

         7.      When the Government obtains records under § 2703 pursuant to a search warrant,

the Government is not required to notify the subscriber of the existence of the warrant. 18 U.S.C.

§ 2703(a), (b)(1)(A), (c)(2) & (3). Additionally, the Government may obtain an order precluding

the Provider from notifying the subscriber or any other person of the warrant, for such period as

the Court deems appropriate, where there is reason to believe that such notification will seriously

jeopardize an investigation. 18 U.S.C. § 2705(b).

                                  STATUTORY VIOLATIONS

Wire Fraud


         8.      Title 18, United States Code Section 1343 criminalizes knowingly devising a

scheme for obtaining money by means of false pretenses or causes to be transmitted by means of

wire in interstate commerce any signals for the purpose of executing such scheme. 18 U.S.C.

§1343.

Material False Statements Involving International Terrorism


         9.      Title 18, United States Code Section 1001 criminalizes knowingly and willfully

making any materially false, fictitious, or fraudulent statement or representation in any matter

within the jurisdiction of the executive branch of the United States. 18 U.S.C. §1001(a)(2). If

the matter involves domestic or international terrorism, the maximum penalty is eight years

incarceration.

Obstruction -- Witness Tampering



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       10.     Title 18, United States Code Section 1512 criminalizes knowingly and corruptly

persuading another person, or attempting to do so, with the intent to cause the person to withhold

testimony from an official proceeding. 18 U.S.C. § 1512.

                                      PROBABLE CAUSE

                  Background on ISIS and Its Internet Recruitment Efforts

       11.     The FBI has been investigating the use of the Internet and social media by foreign

terrorist groups, including the Islamic State and al-Sham (“ISIS”). On or about October 15, 2004,

the U.S. Secretary of State designated al-Qaeda in Iraq (“AQI”), then known as Jam 'at al Tawhid

wa'al-Jahid, as a Foreign Terrorist Organization (“FTO”) under Section 219 of the Immigration

and Nationality Act (“INA”) and as a Specially Designated Global Terrorist (“SDGT”) entity

under section 1(b) of Executive Order 13224. On or about May 15, 2014, the Secretary of State

amended the designation of al-Qaeda in Iraq as an FTO under Section 219 of the INA and as a

SDGT entity under section 1(b) of Executive Order 13224 to add the alias Islamic State of Iraq

and the Levant (“ISIL”) as its primary name. The Secretary also added a number of aliases to the

ISIL listing, including: The Islamic State of Iraq and al-Sham, the Islamic State of Iraq and Syria,

ad-Dawla al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furqan

Establishment for Media Production (collectively referred to herein as “ISIS”). On September 21,

2015, the Secretary added the following aliases to the FTO listing: Islamic State, ISIL, and ISIS.

ISIS remains a designated FTO.

       12.     Based on your affiant’s training and experience, I know that: (a) Sunni extremists

and others, who are not citizens or residents of Syria and Iraq, traveled to Syria and Iraq to join




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ISIS, an act they commonly refer to as "hijrah" 1; (b) foreign fighters commonly entered Syria by

crossing the border from Turkey or Jordan; (c) foreign fighters from Western countries traveled to

locations in Turkey, including Istanbul, and then traveled to towns closer to the border where they

were brought into Syria to join ISIS; (d) Abu Bakr al-Baghdadi was the leader (or "Caliph") of

ISIS before he was killed by U.S. forces on or about October 26, 2019; (e) since on or about

September 22, 2014, ISIS has advocated for the death of Americans and Europeans, including

civilians, by any means necessary, including beheading, and its leadership gave blanket approval

for this indiscriminate killing by individuals residing in these countries.

         13.      To gain supporters, recruit fighters, and raise funds, ISIS spreads its message of

violent jihad2 using social media platforms, such as Twitter, Facebook, YouTube, Instagram, and

Paltalk. On these platforms, ISIS advocates post audio and video files that include recruitment

messages and updates of events in Syria and Iraq. Online chat rooms controlled by ISIS advocates

further effectuate this support.

         14.     One such online community was

                       which contained audio of speeches made by SUSPECT 1 ("5-1"). S-1 was




  Based on my training and experience, I know "hijrah" generally means migrations, and in this context refers to
travel to engage in jihad.

2 Based on my training and experience, I know "jihad" is an Arabic word which literally means striving or
struggling, but in this context it refers to a holy war, fight, or struggle against the enemies of Islam.

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numerous statements inciting violence and supporting ISIS, its former leader al-Baghdadi, al-

Qaeda, and Osama bin Laden.             nontained         recorded lectures of S-1 proselytizing on behalf of

and in support of ISIS. I have viewed the                        site and am familiar with its contents and

organization.

           15.      S-1 is not a U.S. perso




3
    Your affiant understands this document to be an official marriage registration in =.

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                                                Role as an         Administrator

         18.     On or about March 20, 201                        received an email welcoming her as a new

AT Administrator and assigning her the moniker                                              M       .4




                      was advised that lying to the FBI would constitute a violation of federal law,

and in that interview she initially told the FBI Agents that, "I was not an Administrator

               later acknowledged she would sometimes help in the class and login with an.

Administrator account.         Later in the interview,                       admitted that she was an

Administrator often over the past year, and that her involvement varied prior to that. As an.

Administrator, she stated that she would take notes and post them on the                    ebsite, post Quranic

verses and fmd hadith5 during lectures, as well as, advertise the lectures on social media for S-1.

         19.                                                         W-26 indicated that it visited the online

AT chat room.



4 On August 2, 2019, the Honorable G. Michael Harvey of the United States District Court for the District of
Columbia issued a search and seizure warrant for information associated with five Google accounts used by or
associated with S-1 and/or           . In response to the warrant, Google provided this email among others.

5 "Hadith" is a collection of traditions containing sayings of the Prophet Muhammad that is one of the major sources
of guidance for Muslims.




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                       W-2 reported that the primary AT Administrator used the kunya, 7

                                 stated in an interview with FBI Agents tha                              lwas a

name she used on social media and/or communication accounts.                         Service provider records

confirmed this fact. As such, your affiant believes that                             used the moniker

                 when serving as an        Administrator for S-1.

           21.      W-2 further indicated that                     was essentially S-1's secretary and was

aware of S-1's activities. W-2 also described                       as the lead Administrator in thenhat

room. W-2 explained that                      handled all of S-1's correspondence, designed online posters

to advertise1lectures, facilitated lectures, coordinated the posting of hadith and Quranic verses

in the chat room, monitored              hat room discussions, and posted audio onectures to th.

website.

           22.                   was also actively involved in fundraising and collecting donations for

the operation of theMenterprise. On January 5, 2016, a local law enforcement agency advised

the FBI that during anEdiscussion on December 21, 2015, a user name known to be associated

with S-1 posted the following: "according to Shariah we kill apostates" and "If they turn back from

Islam then kill them. Surah 4:89". Later in the same chat room, an individual believed to be

another AT Administrator posted the following solicitation for funding, "DONATE TO THE




7
    "Kunya" is a term that can be used to describe a nickname or an honorary Islamic name for someone.
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DAWAH8 OF [S-1]- EMAIL TO:::: [Email Address 1] - TO ASK FOR DIRECTIONS ON HOW

TO USE [MONEY TRANSMITTING SERVICE 1 ("MTS1")] OR [MONEY TRANSMITTING

SERVICE 2 ("MTS2")]                JZK9".

              23.     Further, on January 25, 2016, a local law enforcement agency advised the FBI that

on January 18, 2016,

                                                                  During this conversation S-1 asked the


M             o send money to                      sing a specific money transmitting service, hereafter

referred to as "MTS1," under S-1'                     name, which S-1 identified a

Excerpts of the conversation are as follows:

              UCE: Shaikh i would like to make donation for the dawa what is the best way?

               S-1: the best way is via [MTS1]

               S-1: send it to m

               S-1: her name is:



                     okay insh Allah



               S-1: how much u are planning to send

                      o i need an account number or just send it in her name insh Allha?

               S-1: no account no needed




8
          (variation "dawa") means the proselytizing or preaching of Islam.
    " Dawah    "

9
   JZK is often used as an abbreviation for "JazakAllah Khair", which is an Arabic phrase meaning "May God
    64




reward you."

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          24.     Your affiant is aware that similar solicitations for donations occurred regularly in

the
      a     at room. In fact, shortly after becoming an administrator in March 2014,

sought to expand the funding base of AT to include other social media platforms. On June 7, 2014,

                sent an email to an individual using the nickname

                suggested they begin posting for donations on Facebook, Twitter, the blog, and in the

Paltalk chatroom.                     acknowledged in the email that in a separate conversation, another


M      dministrator advised her she would need S-1's permission to make this expansion because

he believed the public solicitation for donations could cause the freezing of S-1's latest MTS1 and

MTS2 accounts. A review of                            emails identified an earlier email on June 3, 2017, in

which this.Administrator advised                               that she would need "Shaikh's" approval prior

to publically soliciting for donations due to concerns that the Shaikh's "latest" accounts may get

frozen.                 responded to the othe               dministrator that it was "a dilemma".

MTS1 and MTS2 Financial Recordsfor

          25.      Since April 2, 2012, S-1 has been blocked or interdicted by MTS1 from using its

services.11 The FBI's review of records provided by MTS1 in January 2018 indicated that from

in or about November 2014 to December 2016,                                         appeared to have received




10 Your affiant is aware the term "Muqatil" can be translated to mean "fighter" or "combatant" and often refers to a
combatant in the military context. The nickname was associated with the email account, and email service provider
records revealed multiple exchanges in which S-1 identified himself by name and instructed recipients to use this
email address because he did not trust his other account, which your affiant believes is in reference to an account using
an honorific and S-1 's last name.




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approximately $24,000 through approximately 97 separate transactions via MTS1 while residing

in            with S-1. These payments were from various senders in the United States, United

Kingdom, and Canada, among other countries. MTS1 records indicated that                       utilized

approximately three different forms of her own identification at approximately 16 different

locations throughout      ■to pick up these funds. Your affiant believes based on S-1's online

fundraising efforts and                 role as an        dministrator and S-1 's =the           wire

transfers sent to            were sent to, or on behalf of, S-1. MTS1 indicated that it "interdicted,"

or blocked,               from using its money transfer services in or around December 2016

because MTS1 assessed                   activity to be consistent with terrorist financing.

        26.      MTS2's records revealed that S-1 was blocked from using its services following

the OFAC's designation of S-1 in or around December 2017. MTS2 indicated S-1 was put on a

watch list maintained by a third party vendor in 2004 as a result

                                         however, MTS2 did not subscribe to this watch list at the

time. The FBI's review of records provided by MTS2 indicated that from in or about August 2014

to December 2016,               appeared to have received approximately $1,250, via MTS2. These

payments were from senders in different countries. MTS2 records further indicated that the

recipient (ME)          utilized three different forms of her own personal identification to receive

these payments.

FBI Interview of S-4 about money transfers to

        27.     The FBI conducted voluntary interviews of S-4 in July and August 2017. In those

interviews, S-4 was asked about its contacts and financial support of S-1, and S-4 made

numerous false statements about its contacts with S-1, and denied providing any money to S-1

directly or indirectly through other persons.

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                                                                                               S-4

is one of the individuals who sent money to              using MTS1. During a subsequent

interview with FBI Agents and Assistant United States Attorneys

                   S-4 stated that it contacted S-1 in 2016 and asked if it could send money to 5-

1. S-4 stated that S-1 instructed it to send money to            using MTS1 because

              name was "clean." S-4 understood the term "clean" to mean that                 was

not a terrorist and the transaction to S-1 would be completed successfully if sent through



       28.     A review of S-1 email records obtained from legal process revealed that on June

5, 2016, S-4 emailed S-1: "Salaam, I would like to give donation of 50 dollars whichever way

possible. Its what I can afford to do as of now, I know its not much. How would I go about doing

so?" On June 5, 2016, S-1 responded: "wa alaikum salam wrwb. You may send it via [MTS1] to

my wife's name                                          w.i.. Pls use your real name to send it in

case of a hiccup u can claim your money bac                 ame is clean so you shud be fine

insha allah. What city do u live in I forgot?"

       29.     The FBI's review of records provided by MTS1 in January 2018 revealed two

transactions in June 2016 and December 2016, in which S-4 sent by wire approximately $50 and

$300, respectively, to

       30.     S-4 stated it did not know if S-1 was being watched by law enforcement

authorities, and indicated that it also communicated directly with            via a messaging

application (hereinafter "MA1"), which utilizes a mobile electronic device and the internet. S-4

also told the FBI that it sent MA1 messages to             at what it believed to be

cellular phone. Your affiant is aware that persons who engage in criminal activity will often

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attempt to hide or obscure their financial transactions through friends, confidants, or family

members to avoid detection by law enforcement. MTS1 also indicated that it blocked another

attempted transaction with S-4 to S-1, through                on April 6, 2017.


FBI Interview of                aboutfinancial transactions on January 25, 2018

          31.     During                voluntary interview with FBI Agent

                                                                   stated that S-1 had a bank

account in              but "they closed it down." When asked if              ever had a bank

account closed or a fmancial transaction blocked,                responded, "No because I don't do

any weird transactions, my stuff is legit." When asked about accepting donations on S-1's

behalf,                initially indicated that she accepted money on S-1's behalf approximately

two years ago for Eid, an Islamic holiday.                was directly asked if she ever accepted

any donations or any contributions from anyone in the world other than that Eid.

responded that there may have been a few other times. When asked if there were more or less

than ten other instances outside of Eid in which she accepted money,                 responded,

"Less than, maybe even five times. I'm-it was probably less than that `cuz I didn't like that

whole business."                 again reiterated that she did not accept money on S-1's behalf

outside of those few occasions.

FBI Interview of                aboutfinancial transactions on October 25, 2019

          32.     On October 25, 2019,              was interviewed by FBI Agents at her

                                           FBI Agents again advised               that lying was a

crime under Title 18 U.S. Code 1001, and                 acknowledged that she understood.

                stated that she only accepted a miniscule amount of money and it was not to support


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S-1's activities or the AT dawah.                  explained that she was "leery" about receiving

money because it could hurt her account, and her standing.                  later stated that S-1 made

money that was basically for their living, but she was not familiar with his money because she

had no part in it.

         33.    Your affiant believes                knowingly made false statements to FBI Agents

about her involvement in collecting funds on behalf of S-1 during an interview



                                  As discussed above,                 received approximately 100

wire transfers via MTS1 and MTS2 between August 2014 and December 2016, and at least five

of these transfers were identified by S-4 and S-5 as having been intended for S-1.



s_i      34.

    devised a scheme to defraud MTS1 and MTS2 wherein S-1 directed

funds via MTS1 and MTS2 to
                                                                            a
                Based on the information discussed herein, your affiant believes                and

                                                                                   llowers to wire

                                             instead of directly to S-1. Through this scheme, your

affiant believes             and S-1 obtained money wired through MTS1 and MTS2 under false

pretenses: that funds were being wired through MTS 1 and MTS2 for persons other than S-1,

namely               , when in truth the money was intended for, and provided to, S-1. Your

affiant believes this scheme was executed by S-1 and                  because               name

was "clean" and S-1 and                 believed                name had not yet been blocked by

MTS1 or MTS2.

         35.    Furthermore, your affiant believes                visited numerous MTS1 and MTS2

branch locations in            , collected funds from wire transfers using multiple forms of

identification, and lied to FBI agents about her activity because she was attempting to conceal her

involvement in the scheme. Your affiant notes that                  acknowledged she "...didn't like

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that whole business" in the context of collecting funds on behalf of S-1 and was "leery" of it, but

your affiant believes             nonetheless participated in this scheme despite the possible legal

ramifications.

                  FBI Investigation of other members of th

       36.       In September of 2014,                            W-1, reported to the FBI that

                                            and SUSPECT 3 ("S-3")12, both of whom are

             were vocal supporters of ISIS and espoused their desire to join the terrorist

organization. W-1 reported that
                                                                      1
                                             lived in the same residenc

                   and accepted his and S-3's views pertaining to ISIS.13 W-1 indicated that
                                                                                            M
                 nd S-3 watched ISIS-related videos in the living room while               cooked.

W-1 recalled one particular instance in 2014, during Ramadan, wher                  and S-3 viewed

a video depicting the killing of a Shia male and praised the methodical manner in which ISIS killed

people. Notably, this was around the time that                               W-1 further indicated

that both                 nd S-3 would get excited about the videos and both stated that killing

people was the right way to do things.




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           38.      As discussed above, in August 2014,                        and S-

The ceremony occurred in                      and was attended b



and W-3 were known close associates of                             and other members of




           39.      On or about January 2, 2012,



                                                                 While celebrating Eid, W-3 met




14
  Your affiant is aware the term "nasheed" can refer to vocal music that is popular in the Islamic world and
generally makes reference to Islamic beliefs, history, religion, and current events. Your affiant is further aware that
many ISIS productions utilize nasheeds.




16
     For consistency with other legal processes, witnesses and suspects may not be identified in sequential order.


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         40.      The group, which included W-3,                                                           S-3, and

                                    residence participated together in social activities and in practicing

Islam. W-3 indicated that since it was new to the religion, it obtained much of its religious

guidance from                                                      d S-3. Some of the earliest material W-3

was shown by t                       included the Light Revelations series' on YouTube. Your affiant

knows this series to include a number of videos supportive of ISIS, but less provocative than many

produced by the terrorist group. W-3 also reported that the group showed S-1's lectures to W-3,

and these became one of W-3' s primary sources of information on Islam.

         41.      In August 2014, W-3 traveled wit                                                        S-3, W-4,

and S-7 to            , on the aforementioned trip where                                        W-3 indicated that

during this trip, the group discussed the topic of ISIS with S-1. According to W-3, S-1 provided

the group with justification that ISIS was legitimate and that Muslims owed their allegiance to Abu

Bakr al-Baghdadi and the Islamic State. W-3 also stated that S-1 further instructed the group that

in order to be considered Muslim, they needed to make hijrah to ISIS territory because it was the

only acceptable location. Furthermore, W-3 stated the group discussed the requirements for men




17 The Light Revelations series was listed in the "Must Watch Videos" section of a publication titled, "The Revived
Caliphate," a 106-page ISIS-aligned pdf booklet shared amongst the group members. "The Revived Caliphate"
booklet described the Light Revelations series as videos that "...summarise all events about the Caliphate in Syria in
a positive light. Quality and dramatic, Highly Recommended. Links to videos can be found at:
https://twitter.com/EnterTheTruthCo". The booklet provided references to numerous other ISIS-produced or ISIS-
aligned media products.

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to engage in jihad — women could choose whether or not they wanted to fight, and

explained what life would be like for a woman living in ISIS-controlled territory. 18

        42.      W-3 reported that after returning to the United States in August 2014, the group

agreed it should travel together to make hijrah to ISIS territory. 19 W-3 indicated the group

discussed the preparations they would need to undertake before making hijrah, including: saving

mone       re aring physically, and gaining more knowledge about Islam. W-3 indicated that W-3

                  egan saving money for making hijrah to ISIS territory, and began using a savings

envelope to track their savings and expenditures. W-3 and W-4 confirmed th

              S-3, W-3, and others watched ISIS-created propaganda videos such as "Flames of

War,"20 which they viewed on multiple occasions, and talked about their desire to join ISIS in Iraq

or Syria and fight against its enemies.

        43.       Evidence obtained during the investigation confirms that the group continued

listening to S-1's lectures and would regularly receive communications from

advertising upcoming topics including those pertaining to ISIS. For example, on September 3,

2014,                 emailed W-3                          3, and others a poster advertising a conference

titled, "Al Khilaafah; Allah's Governance on Earth" scheduled for September 6, 2014, and




            and W-4 were interviewed about their discussions with S-1 while in M,       and they both denied or
did not recall discussing ISIS with S-1. W-4 noted, however, that the group's view towards ISIS became more
amplified over time beginning in 2014.

19 W-4 confirmed that the group discussed making hijrah to ISIS territory, but that W-4 was not intending to go with

them if they ever decided to attempt to travel.

20
  In September 2014, ISIS released a documentary-style video on Twitter titled, "Flames of War — Fighting Has
Just Begun". The video, produced by ISIS's al-Hayat Media Center, was approximately 55-minutes in length and
highlighted some of ISIS's major operations in Syria, including a battle at the Menagh Airbase near Allepo. The
video is narrated by an English-speaker and the final shot in the production shows masked ISIS fighters executing
kneeling men.

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featuring S-1 and other jihadist preachers in the United Kingdom.                directed recipients

of the email to attend and invite others.               further noted, "This conference is not to be

missed." During the conference, S-1 and other speakers promoted ISIS and justified its leader,

Abu Bakr Al Baghdadi. From 2014-2017,                    regularly sent private messages containing

promotional materials for S-1's lectures to W-3                                   and others in the

group.

         44.   In May 2015,                 provided instructions to W-3 on how to donate to the

dawah, which involved sending money via MTS1 in                        name. W-3 understood the

purpose of the donation was to keep theMwebsite running, and that W-3 should send the money

in               name because the transaction might be blocked if it was sent to S-1.

         45.   In April 2016,                 also requested W-3's assistance in translating S-1's

lecture notes into a different language. W-3 understood                 and S-1 were attempting to

grow their audience.              and S-1 suggested W-3 not use W-3's real name when publishing

translations online to make it more difficult to identify him/her.




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           48.      During            interview with FBI Agents in the District of Columbia on

October 25, 2019, she declined to identify anyone with whom she had discussed the ongoing legal

proceedings.                 denied having conversations with individuals who received "notices"

about what they should say, or whether to answer questions by falsely stating one does not

remember or does not recall.                 stated she had told people who got notices that they




23   See supra Footnote 5.

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should answer questions honestly because they had done nothing wrong, but that if the person did

not recall something, they should not speak on the topic.




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          53.                                                   W-3 reported that

                                         also contacted W-3 over social media.25               sent

W-3 a Facebook message from her                     account claiming that                 neighbor

was looking for a bilingual babysitter and asking if W-3 was interested. As discussed further

herein,                             ' Facebook account is associated with Facebook User ID

                  . W-3 interpreted this message as a pretext to engage her/him in conversation

about cooperation with the FBI because it was aware that            never talked to her neighbors.

After W-3 did not respond,             followed up with another Facebook message containing a

long audio lecture by an unknown man. After listening to only a short portion of it, W-3 deleted

the message and could not recall its contents, however, W-3 believed               sent this lecture

to intimidate W-3 and discourage it from cooperating with authorities.




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          54.                                                          W-3 reported tha

contacted W-3 over Instagram and asked how W-3 was doing. After a short exchange, W-3

ignorec                    follow-up message asking about W-3's employment.

          also reached out to W-3, which W-3 believed was unusual. W-3 reported that it had only

talked to                            once before when W-3 was at                          residence and

                was speaking to her on FaceTime.

          55.    Based on the foregoing, your affiant believes there is probable cause to believe that

                                           are using social media to harass W-3, obstruct justice, and

obtain information related to the investigation.

                          SUMMARY OF TARGET ACCOUNTS

Facebook User ID

          56.    As noted above,                 used her                    account to contact W-3

                                                        FBI review of publically-available information

revealed a Facebook account with profile name                      and a profile picture of

wearing a pink and white hijab. The account was associated with User ID                            and

registered to                 and                  phone number, +                . Records provided

by Facebook pursuant to a 2703(d) court order revealed                  sent W-3 private messages on

August 1, 2019 and again on October 9, 2019.

Facebook User IDs                         and

          57.    FBI review of publically-available information revealed two Facebook accounts

associated with             both of which featured profile pictures               and were associated

with Facebook User IDs                              and                         Records provided by

Facebook revealed the registered names for Facebook accounts                                       and

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                       were                                          respectively, and were registered

using                mail address,                             and telephone number, +

According to records provided to the FBI from a 2703(d) court ordeMsent                W-3 numerous

private messages from these accounts between May 16, 2019 and October 9, 2019.

Facebook User ID

        58.      FBI review of publically -available information revealed a Facebook account with

W-3's name as the profile name, a profile picture showing W-3, and W-3's known date of birth

listed in the timeline. This account was associated with Facebook User ID

and was registered to W-3's real name and current phone number. Records provided by

Facebook pursuant to a 2703(d) court order revealed W-3 received messages from both of

              iccounts between May 16, 2019 and October 9, 2019. There were no messages

exchanged with                                 account, which your affiant believes is because W-3

deleted those messages as previously communicated to FBI Agents, and they were not retained

by Facebook.

Instagram Account                          (User ID ...

        59.      FBI review of publically-available information revealed an Instagram account with

a profile picture of                 and various photos of                   The account was named

                     and associated with User ID MM.                 Records provided by Instagram

indicated      the     account     was    registered      to                        email    address,

                                 and phone number, +                   Furthermore, records provided

by Instagram pursuant to a 2703(d) court order revealed three messages betwec                      tnd

W-3 from July 23, 2019 to July 25, 2019.



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       60.     On or about September 1, 2019, Facebook was served with a records preservation

request under 18 U.S.C. § 2703(f) related to Facebook User IDs                         and

                    . On July 22, 2019, Facebook was served with a records preservation request

related to Facebook User IDs                       and                      On November 7, 2019,

Facebook was served with a records preservation request related to Instagram User ID


               BACKGROUND CONCERNING FACEBOOK'S ACCOUNTS

       61.     Facebook is the provider of the internet-based account(s) identified by User IDs

                                                              and

       62.     Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com ("Facebook"). The website is owned and

operated by Facebook. Facebook allows users to establish accounts with Facebook, and users can

then use their Facebook accounts to share written news, photographs, videos, and other

information with other Facebook users, and sometimes with the general public.

       63.     Facebook asks users to provide basic contact and personal identifying information

to Facebook, either during the registration process or thereafter. This information may include the

user's full name, birth date, gender, contact e-mail addresses, Facebook passwords, Facebook

security questions and answers (for password retrieval), physical address (including city, state, and

zip code), telephone numbers, screen names, websites, and other personal identifiers. Facebook

also assigns a user-identification number ("user ID") to each account. Facebook identifies unique

Facebook accounts by a user's e-mail address, the user ID, or the username associated with a

Facebook profile.

       64.     Facebook users may join one or more groups or networks to connect and interact

with other users who are members of the same group or network. Facebook assigns a group
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identification number to each Facebook group. A Facebook user can also connect directly with

individual Facebook users by sending each user a “friend” request. If the recipient of a “friend”

request accepts the request, then the two users will become “friends” for purposes of Facebook

and can exchange communications or view information about each other. Each Facebook user’s

account includes a list of that user’s “friends” and a “News Feed,” which highlights information

about the user’s “friends,” such as profile changes, upcoming events, and birthdays.

       65.     Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Internet, including people who are not Facebook users. A

Facebook user can also create “lists” of Facebook “friends” to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook.

       66.     Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post “status” updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items available

elsewhere on the Internet. Facebook users can also post information about upcoming “events,”

such as social occasions, by listing the event’s time, location, host, and guest list. In addition,

Facebook users can “check in” to particular locations or add their geographic locations to their

Facebook posts, thereby revealing their geographic locations at particular dates and times. A

particular user’s profile page also includes a “Wall,” which is a space where the user and his or

her “friends” can post messages, attachments, and links that will typically be visible to anyone

who can view the user’s profile.

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       67.     Facebook allows users to upload photos and videos, which may include any

metadata such as location that the user transmitted when s/he uploaded the photo or video. It also

provides Facebook users the ability to “tag” (i.e., label) other Facebook users in a photo or

video. When a user is “tagged” in a photo or video, he or she receives a notification of the “tag”

and a link to see the photo or video. For Facebook’s purposes, the photos and videos associated

with a Facebook user’s account will include all photos and videos uploaded by that user that have

not been deleted, as well as all photos and videos uploaded by any user that have that user “tagged”

in them.

       68.     Facebook users can exchange private messages on Facebook with other

users. Those messages are stored by Facebook unless deleted by the user. Facebook users can

also post comments on the Facebook profiles of other users or on their own profiles; such

comments are typically associated with a specific posting or item on the profile. In addition,

Facebook has a chat feature that allows users to send and receive instant messages through

Facebook Messenger. These chat communications are stored in the chat history for the

account. Facebook also has Video and Voice Calling features, and although Facebook does not

record the calls themselves, it does keep records of the date of each call.

       69.     In general, user-generated content and information about the account (such as a

user’s photos, “status” updates, an activity log as described below, and the like) that is written

using, stored on, sent from, or sent to a Facebook account can be indefinitely stored in connection

with that account, unless the subscriber deletes the material. Further, such user-generated content

can remain on Facebook’s servers indefinitely if not deleted by the subscriber, and even after being

deleted, it may continue to be available on Facebook’s servers for a certain period of time.



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       70.     A Facebook user also can send other Facebook users a notification indicating that

the recipient has been “poked”. Facebook “pokes” enable Facebook users to get the attention of

other Facebook users without delivering any user generated messages or other content.

       71.     If a Facebook user does not want to interact with another user on Facebook, the

first user can “block” the second user from seeing his or her account.

       72.     Facebook has a “like” feature that allows users to give positive feedback or connect

to particular pages. Facebook users can “like” Facebook posts or updates, as well as webpages or

content on third-party (i.e., non-Facebook) websites. Facebook users can also become “fans” of

particular Facebook pages.

       73.     Facebook has a search function that enables its users to search Facebook for

keywords, usernames, or pages, among other things.

       74.     Each Facebook account has an activity log, which is a list of the user’s posts and

other Facebook activities from the inception of the account to the present. The activity log includes

stories and photos in which the user has been “tagged”, as well as connections made through the

account, such as “liking” a Facebook page or adding someone as a “friend”. The activity log is

visible to the user but cannot be viewed by people who visit the user’s Facebook page.

       75.     Facebook also has a Marketplace feature, which allows users to post free classified

ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

       76.     In addition to the applications described above, Facebook also provides users with

access to thousands of other applications (“apps”) on the Facebook platform. When a Facebook

user accesses or uses one of these applications, an update about that the user’s access or use of that

application may appear on the user’s profile page.



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       77.     Facebook also retains Internet Protocol (“IP”) logs for a given Facebook user ID or

IP address. These logs may contain information about the actions taken by the user ID or IP

address on Facebook, including information about the type of action, the date and time of the

action, and the user ID and IP address associated with the action. For example, if a user views a

Facebook profile, that user’s IP log would reflect the fact that the user viewed the profile, and

would show when and from what IP address the user did so.

       78.     Depending on the user’s privacy settings, Facebook may also obtain and store the

physical location of the user’s device(s), including Global Positioning System (“GPS”) data, as

the user interacts with the Facebook service on those device(s).

       79.     Social networking providers like Facebook typically retain additional information

about their users’ accounts, such as information about the length of service (including start date),

the types of service utilized, and the means and source of any payments associated with the service

(including any credit card or bank account number). In some cases, Facebook users may

communicate directly with Facebook about issues relating to their accounts, such as technical

problems, billing inquiries, or complaints from other users. Social networking providers like

Facebook typically retain records about such communications, including records of contacts

between the user and the provider’s support services, as well as records of any actions taken by

the provider or user as a result of the communications.

       80.     Based on my training and experience, I know that providers such as Facebook also

collect information relating to the devices used to access a subscriber’s account – such as laptop

or desktop computers, cell phones, and tablet computers. Such devices can be identified in various

ways. For example, some identifiers are assigned to a device by the manufacturer and relate to the

specific machine or “hardware,” some identifiers are assigned by a telephone carrier concerning a

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particular user account for cellular data or voice services, and some identifiers are actually assigned

by Facebook in order to track what devices are using Facebook’s accounts and services. Examples

of these identifiers include unique application number, hardware model, operating system version,

Global Unique Identifier (“GUID”), device serial number, mobile network information, telephone

number, Media Access Control (“MAC”) address, and International Mobile Equipment Identity

(“IMEI”). Based on my training and experience, I know that such identifiers may constitute

evidence of the crimes under investigation because they can be used (a) to find other Facebook

accounts created or accessed by the same device and likely belonging to the same user, (b) to find

other types of accounts linked to the same device and user, and (c) to determine whether a

particular device recovered during course of the investigation was used to access the Facebook

account.

       81.     Facebook also allows its subscribers to access its various services through an

application that can be installed on and accessed via cellular telephones and other mobile devices.

This application is associated with the subscriber’s Facebook account. In my training and

experience, I have learned that when the user of a mobile application installs and launches the

application on a device (such as a cellular telephone), the application directs the device in question

to obtain a Push Token, a unique identifier that allows the provider associated with the application

(such as Facebook) to locate the device on which the application is installed. After the applicable

push notification service (e.g., Apple Push Notifications (APN) or Google Cloud Messaging) sends

a Push Token to the device, the Token is then sent to the application, which in turn sends the Push

Token to the application’s server/provider. Thereafter, whenever the provider needs to send

notifications to the user’s device, it sends both the Push Token and the payload associated with the

notification (i.e., the substance of what needs to be sent by the application to the device). To ensure

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this process works, Push Tokens associated with a subscriber’s account are stored on the provider’s

server(s). Accordingly, the computers of Facebook are likely to contain useful information that

may help to identify the specific device(s) used by a particular subscriber to access the subscriber’s

Facebook account via the mobile application.

       82.      Based on my training and experience, I know that providers such as Facebook use

cookies and similar technologies to track users visiting Facebook’s webpages and using its

products and services. Basically, a “cookie” is a small file containing a string of characters that a

website attempts to place onto a user’s computer. When that computer visits again, the website

will recognize the cookie and thereby identify the same user who visited before. This sort of

technology can be used to track users across multiple websites and online services belonging to

Facebook. More sophisticated cookie technology can be used to identify users across devices and

web browsers. From training and experience, I know that cookies and similar technology used by

providers such as Facebook may constitute evidence of the criminal activity under investigation.

By linking various accounts, devices, and online activity to the same user or users, cookies and

linked information can help identify who was using a Facebook account and determine the scope

of criminal activity.

       83.     Based on my training and experience, I know that Facebook maintains records that

can link different Facebook accounts to one another, by virtue of common identifiers, such as

common e-mail addresses, common telephone numbers, common device identifiers, common

computer cookies, and common names or addresses, that can show a single person, or single group

of persons, used multiple Facebook accounts. Based on my training and experience, I also know

that evidence concerning the identity of such linked accounts can be useful evidence in identifying

the person or persons who have used a particular Facebook account.

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         84.      Based on my training and experience, I know that subscribers can communicate

directly with Facebook about issues relating to the account, such as technical problems, billing

inquiries, or complaints from other users. Providers such as Facebook typically retain records

about such communications, including records of contacts between the user and the provider’s

support services, as well as records of any actions taken by the provider or user as a result of the

communications. In my training and experience, such information may constitute evidence of the

crimes under investigation because the information can be used to identify the account’s user or

users.

         85.      In summary, based on my training and experience in this context, I believe that the

computers of Facebook are likely to contain user-generated content such as stored electronic

communications (including retrieved and unretrieved messages for Facebook subscribers), as well

as Facebook-generated information about its subscribers and their use of Facebook services and

other online services. In my training and experience, all of that information may constitute

evidence of the crimes under investigation because the information can be used to identify the

account’s user or users. In fact, even if subscribers provide Facebook with false information about

their identities, that false information often nevertheless provides clues to their identities, locations,

or illicit activities.

         86.      As explained above, information stored in connection with a Facebook account may

provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct

under investigation, thus enabling the investigating authorities to establish and prove each element

of the offense or, alternatively, to exclude the innocent from further suspicion. From my training

and experience, a Facebook user’s IP log, stored electronic communications, and other data

retained by Facebook, can indicate who has used or controlled the Facebook account. This “user

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attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, profile contact information, private messaging logs,

status updates, and “tagged” photos (and the data associated with the foregoing, such as date and

time) may indicate who used or controlled the Facebook account at a relevant time. Further,

Facebook account activity can show how and when the account was accessed or used. For

example, as described above, Facebook logs the IP addresses from which Facebook users access

their accounts along with the time and date. By determining the physical location associated with

the logged IP addresses, investigators can understand the chronological and geographic context of

the account access and use relating to the crime under investigation. Such information allows

investigators to understand the geographic and chronological context of Facebook access, use, and

events relating to the crime under investigation. Additionally, Facebook builds geo-location into

some of its Facebook services. Geo-location allows, for example, users to “tag” their location in

posts and Facebook “friends” to locate each other. This geographic and timeline information may

tend to either inculpate or exculpate the Facebook account user. Last, Facebook account activity

may provide relevant insight into the Facebook account user’s state of mind as it relates to the

offense under investigation. For example, information on the Facebook account may indicate the

owner’s motive and intent to commit a crime (e.g., information indicating a plan to commit a

crime), or consciousness of guilt (e.g., deleting account information in an effort to conceal

evidence from law enforcement). 26



26
  At times, social media providers such as Facebook can and do change the details and functionality of the services
they offer. While the information in this section is true and accurate to the best of my knowledge and belief, I have
not specifically reviewed every detail of Facebook’s services in connection with submitting this application for a
search warrant. Instead, I rely upon my training and experience, and the training and experience of others, to set forth
the foregoing description for the Court.

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       87.     Based on my training and experience, I know that evidence of who controlled, used,

and/or created a Facebook account may be found within the user-generated content created or

stored by the Facebook subscriber.       This type of evidence includes, for example, personal

correspondence, personal photographs, purchase receipts, contact information, travel itineraries,

and other content that can be uniquely connected to a specific, identifiable person or group. In

addition, based on my training and experience, I know that this type of user-generated content can

provide crucial identification evidence, whether or not it was generated close in time to the offenses

under investigation. This is true for at least two reasons. First, people that commit crimes

involving electronic accounts (e.g., e-mail accounts) typically try to hide their identities, and many

people are more disciplined in that regard right before (and right after) committing a particular

crime. Second, earlier-generated content may be quite valuable, because criminals typically

improve their tradecraft over time. That is to say, criminals typically learn how to better separate

their personal activity from their criminal activity, and they typically become more disciplined

about maintaining that separation, as they become more experienced. Finally, because e-mail

accounts and similar Facebook accounts do not typically change hands on a frequent basis,

identification evidence from one period can still be relevant to establishing the identity of the

account user during a different, and even far removed, period of time.

              BACKGROUND CONCERNING INSTAGRAM'S ACCOUNTS

       88.     Instagram is the provider of the internet-based account(s) identified by User ID

                      User ID ME).

       89.     Instagram owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.instagram.com. Instagram allows its users to create their

own profile pages, which can include a short biography, a photo of themselves, and other

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information. Users can access Instagram through the Instagram website or by using a special

electronic application (“app”) created by the company that allows users to access the service

through a mobile device.

       90.     Instagram permits users to post photos to their profiles on Instagram and otherwise

share photos with others on Instagram, as well as certain other social-media services, including

Flickr, Facebook, and Twitter. When posting or sharing a photo on Instagram, a user can add to

the photo: a caption; various “tags” that can be used to search for the photo (e.g., a user made add

the tag #vw so that people interested in Volkswagen vehicles can search for and find the photo);

location information; and other information. A user can also apply a variety of “filters” or other

visual effects that modify the look of the posted photos. In addition, Instagram allows users to

make comments on posted photos, including photos that the user posts or photos posted by other

users of Instagram. Users can also “like” photos.

       91.     Upon creating an Instagram account, an Instagram user must create a unique

Instagram username and an account password. This information is collected and maintained by

Instagram.

       92.     Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user profile.

This information may include the user’s full name, e-mail addresses, and phone numbers, as well

as potentially other personal information provided directly by the user to Instagram. Once an

account is created, users may also adjust various privacy and account settings for the account on

Instagram. Instagram collects and maintains this information.

       93.     Instagram allows users to have “friends,” which are other individuals with whom

the user can share information without making the information public. Friends on Instagram may

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come from either contact lists maintained by the user, other third-party social media websites and

information, or searches conducted by the user on Instagram profiles. Instagram collects and

maintains this information.

        94.     Instagram also allows users to “follow” another user, which means that they receive

updates about posts made by the other user. Users may also “unfollow” users, that is, stop

following them or block the, which prevents the blocked user from following that user.

        95.     Instagram allow users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains user

content that users post to Instagram or share through Instagram.

        96.     Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user’s feed, search

history, or profile.

        97.     Users on Instagram may also search Instagram for other users or particular types of

photos or other content.

        98.     For each user, Instagram also collects and retains information, called “log file”

information, every time a user requests access to Instagram, whether through a web page or

through an app. Among the log file information that Instagram’s servers automatically record is

the particular web requests, any Internet Protocol (“IP) address associated with the request, type

of browser used, any referring/exit web pages and associated URLs, pages viewed, dates and times

of access, and other information.

        99.     Instagram also collects and maintains “cookies,” which are small text files

containing a string of numbers that are placed on a user’s computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram. For example, Instagram

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uses cookies to help users navigate between pages efficiently, to remember preferences, and to

ensure advertisements are relevant to a user’s interests.

       100.    Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record “device identifiers,” which includes data files and

other information that may identify the particular electronic device that was used to access

Instagram.

       101.    Instagram also collects other data associated with user content. For example,

Instagram collects any “hashtags” associated with user content (i.e., keywords used), “geotags”

that mark the location of a photo and which may include latitude and longitude information,

comments on photos, and other information.

       102.    Instagram also may communicate with the user, by email or otherwise. Instagram

collects and maintains copies of communications between Instagram and the user.

       103.    As explained herein, information stored in connection with an Instagram account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, an

Instagram user’s account activity, IP log, stored electronic communications, and other data

retained by Instagram, can indicate who has used or controlled the Instagram account. This “user

attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, profile contact information, direct messaging logs,

shared photos and videos, and captions (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the Instagram account at a

relevant time. Further, Instagram account activity can show how and when the account was

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accessed or used. For example, as described herein, Instagram logs the Internet Protocol (IP)

addresses from which users access their accounts along with the time and date. By determining the

physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the account access and use relating to the crime under

investigation. Such information allows investigators to understand the geographic and

chronological context of Instagram access, use, and events relating to the crime under

investigation. Additionally, Instagram builds geo-location into some of its services. Geo-location

allows, for example, users to "tag" their location in posts and Instagram "friends" to locate each

other. This geographic and timeline information may tend to either inculpate or exculpate the

Instagram account owner. Last, Instagram account activity may provide relevant insight into the

Instagram account owner's state of mind as it relates to the offense under investigation. For

example, information on the Instagram account may indicate the owner's motive and intent to

commit a crime (e.g., information indicating a plan to commit a crime), or consciousness of guilt

(e.g., deleting account information in an effort to conceal evidence from law enforcement).

       104.    Based on the information above, the computers of Instagram are likely to contain

all the material described above with respect to Instagram account                            User ID

          ), including stored electronic communications and information concerning subscribers

and their use of Instagram, such as account access information, which would include information

such as the IP addresses and devices used to access the account, as well as other account

information that might be used to identify the actual user or users of the account at particular times.




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                  REQUEST TO SUBMIT WARRANT BY TELEPHONE
                    OR OTHER RELIABLE ELECTRONIC MEANS

       105.    I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant U.S. Attorney Tejpal

S. Chawla, an attorney for the United States, is capable of identifying my voice and telephone

number for the Court.




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                                            CONCLUSION

          106.   Based on the foregoing, I request that the Court issue the proposed search warrant

  based on probable cause to believe that the accounts contain evidence of criminal activity or

  themselves are instrumentalities, or fruits of these crimes. Because the warrant will be served on

  Facebook, who will then compile the requested records at a time convenient to it, there exists

  reasonable cause to permit the execution of the requested warrant at any time in the day or night.

  Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not required for the

  service or execution of this warrant.

          107.   The government further requests to share the information obtained from this search

  (to include copies of digital media) with any government agency investigating, or aiding in the

  investigation of this case or related matters.




                                                        Respectfully submitted,




         Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on April 3, 2020




          DEBORAH A. ROBINSON
          UNITED STATES MAGISTRATE JUDGE




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UNITED STATES MAGISTRATE JUDGE
U.S. DISTRICT COURT BUILDING
WASHINGTON, D.C.
PLEASE ISSUE:          n
                       I    Arrest      i   Search     i   Seizure


warrant for:           IN THE MATTER OF THE SEARCH OF INFORMATION
                       ASSOCIATED WITH FIVE ACCOUNTS STORED AT PREMISES
                       CONTROLLED BY FACEBOOK PURSUANT TO 18 U.S.C. § 2703
                       FOR INVESTIGATION OF VIOLATION OF 18 U.S.C. § 1512




Violation:     n   D.C.C.   n U.S.C.                 Title: 18

Section(s):    1343, 1001(a)(2), 1512



      /s/
                                                     4/3/2020
Tejpal S. Chawla                                     Date
Assistant United States Attorney
(202) 252-7



COMPLETE FOR ALL ARREST WARRANTS:

The following information must be provided for ALL arrest warrants and an original and
duplicate of this form must be submitted to the Clerk's Office with the warrant papers.

Officer / Agent Name:

Badge Number:

Agency / Unit:

24 Hour Telephone
 (For officer/agent)

Cellular Number:
(For officer/agent)
                      Case
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    AO 106A (08/1F9 Applicattnn fora Warrant 1:i), Telephone or Other Reliable Electronic Means


                                           UNITED STATES DISTRICT COURT
                                                                              for the
                                                                   District of Columbia

                  In the Matter of the Search of
             (Briefly describe the property to be searched
              or idenM, the person by name and address)
IN THE MATTER OF THE SEARCH OF INFORMATION ASSOCIATED WITH                                        Case No, 20-sc-00732
FIVE ACCOUNTS STORED AT PREMISES CONTROLLED BY FACESOOK )
PURSUANT To 18 U.S.C. § 2703 FOR INVESTIGATION OF VIOLATION OF )
                         18 U.S.C.§1512

      APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (idenrt she person or describe the
   properly to be searched andgive its locution):
     See Attachment A, hereby incorporated by reference

   located in the              Northern              District of                   California                , there is now concealed (identify the
   person or describe the property to be seized):
    See Attachment B, hereby incorporated by reference


             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  Cr evidence of a crime;
                  O contraband, fruits of crime, or other items illegally possessed;
                    tif property designed for use, intended for use, or used in committing a crime;
                    O a person to be arrested or a person who is unlawfully restrained.
            The search is related to a violation of:
             Code Section                                                          Offense Description
         18 U.S.C. § 1343                            Wire Fraud
         18 U.S.C. § 1001(a)(2)                      Material False Statements in an Investigation Involving International Terrorism
         18 U.S.C. § 1512                            Obstruction of Justice- Witness Tampering
           The application is based on these facts:
          See Attached Affidavit

             O Continued on the attached sheet.
             O Delayed notice of        days (give exact ending date ifmore than 30 days:                                    ) is re uested under
               18 U.S.C. § 3103a, the basis of which is se




  Attested to by the applicant in accordance with the requirements of PM K. Lnm. P. 4.1 by
                        telephone                       (sped reliable electronic means).

                                                                                                                        Deborah A. Robinson
 Date:             04/03/2020                                                                                           2020.04.03 12:50:40 -04'00'
                                                                                                            Judge's signature
  City and state: Washington, D.C.                                                                       Deborah A. Robinson
                                                                                                          Printed name and tide
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AO 93C (�����) �������������������������������������������������������               � Original                � Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 20-sc-00732
IN THE MATTER OF THE SEARCH OF INFORMATION ASSOCIATED WITH
 FIVE ACCOUNTS STORED AT PREMISES CONTROLLED BY FACEBOOK                    )
PURSUANT TO 18 U.S.C. § 2703 FOR INVESTIGATION OF VIOLATION OF              )
                         18 U.S.C. § 1512                                   )

                 �������������������������������������������������������
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search�������������
of the following person or property located in the�                        Northern  District of            California
(identify the person or describe the property to be searched and give its location):
  See Attachment A, hereby incorporated by reference




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B, hereby incorporated by reference.




        YOU ARE COMMANDED to execute this warrant on or before                   April 17, 2020        (not to exceed 14 days)
      � in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               � at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                       Deborah A. Robinson                   .
                                                                                                  (United States Magistrate Judge)

     � Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     � for         days (not to exceed 30) � until, the facts justifying, the later specific date of                                             .

                                                                                                                   Deborah A. Robinson
                               04/03/2020                                                                          2020.04.03 12:52:37 -04'00'
Date and time issued:
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                        U.S. Magistrate Judge Deborah A. Robinson
                                                                                                        Printed name and title
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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 20-sc-00732
Inventory made in the presence of :

Inventory of the property taken and name��� of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                     ATTACHMENT A
                                   Property to Be Searched


       This warrant applies to information which is associated with the Facebook, Inc. accounts

identified by Facebook User IDs

                    and Instagram Accoun                           User ID            , and which

is stored at premises owned, maintained, controlled, or operated by Facebook, Inc., a company that

accepts service of legal process at 1601 Willow Road, Menlo Park, California.
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                                      ATTACHMENT B

                        Particular Things to be Seized and Procedures
                            to Facilitate Execution of the Warrant

       I. Information to be disclosed by Facebook, Inc. (“Facebook”) to facilitate execution
of the warrant

               To the extent that the information described in Attachment A is within the

possession, custody, or control of Facebook, including any records that have been deleted but are

still available to Facebook, or have been preserved pursuant to a request made under 18 U.S.C.

§ 2703(f), Facebook is required to disclose the following information to the government

corresponding to each account or identifier (“Account”) listed in Attachment A:

       a.      For the time period from May 16, 2019 to the Present: The contents of any

available messages or other communication associated with the Account (including, but not limited

to, messages, attachments, draft messages, posts, chats, video calling history, “friend” requests,

discussions, recordings, images, or communications of any kind sent to and from the Account,

including stored or preserved copies thereof) and related transactional records for all Facebook

services used by an Account subscriber/user, including the source and destination addresses and

all Internet Protocol (“IP”) addresses associated with each message or other communication, the

date and time at which each message or other communication was sent, and the size and length of

each message or other communication;

       b.      For the time period from May 16, 2019 to the Present: All photos and videos

uploaded by the Account and all photos or videos uploaded in which the Account has been

“tagged”, including Exchangeable Image File (“EXIF”) data and any other metadata associated

with those photos and videos;
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       c.      Basic subscriber records and login history, including all records or other

information regarding the identification of the Account, to include full name, physical address,

telephone numbers, birthdate, security questions and passwords, and other personal identifying

information, records of session times and durations, the date on which the Account was created,

the length of service, types of services utilized by the Account, the IP address used to register the

Account, log-in IP addresses associated with session times and dates, account status, alternative e-

mail addresses provided during registration, methods of connecting, log files, means and source of

payment (including any credit or bank account number), and any account(s) linked by machine

cookies (meaning all Facebook user identification numbers (“user IDs”) that logged into Facebook

by the same machine as the Account;

       d.      For the time period from May 16, 2019 to the Present: All records or other

information related to the Account, including address books, contact and “friend” lists, calendar

data, and files; profile information; “News Feed” information; “Wall” postings; Notes; groups and

networks of which the Account is a member; future and past event postings; rejected “friend”

requests and blocked users; status updates (including relationship status updates); comments; gifts;

“pokes”; “tags”; the account’s usage of the “like” feature, including all Facebook posts and all

non-Facebook webpages and content that the user has “liked”; searches performed by the Account;

privacy settings, including privacy settings for individual Facebook posts and activities;

information about the Account’s access and use of Facebook applications; and the Account’s

access and use of Facebook Marketplace;

       e.      For the time period from May 16, 2019 to the Present: All “check ins” and other

location information;
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          f.   For the time period from May 16, 2019 to the Present: All records pertaining to

communications between Facebook and any person regarding the Account, including contacts with

support services and records of actions taken;

          g.   All records pertaining to devices associated with the Account and software used to

create and access the Account, including device serial numbers, instrument numbers, model

types/numbers, International Mobile Equipment Identities (“IMEI”), Mobile Equipment

Identifiers (“MEID”), Global Unique Identifiers (“GUID”), Electronic Serial Numbers (“ESN”),

Android Device IDs, phone numbers, Media Access Control (“MAC”) addresses, operating system

information, browser information, mobile network information, information regarding cookies and

similar technologies, and any other unique identifiers that would assist in identifying any such

device(s) including unique application numbers and push notification tokens associated with the

Account (including Apple Push Notifications (“APN”).

          h.   All information held by Facebook related to the location and location history of the

user(s) of the Account, including geographic locations associated with the Account (including

those collected for non-Facebook based applications), IP addresses, Global Positioning System

(“GPS”) information, and information pertaining to nearby devices, Wi-Fi access points, and cell

towers;

          i.   Information about any complaint, alert, or other indication of malware, fraud, or

terms of service violation related to the Account or associated user(s), including any memoranda,

correspondence, investigation files, or records of meetings or discussions about the Account or

associated user(s) (but not including confidential communications with legal counsel); and
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       j.      All information held by Facebook related to any fmancial transactions, fmancial

records, or documentation, including credit card information, account information, receipts, notes,

and ledgers.

       Within 14 days of the issuance of this warrant, Facebook shall deliver the information set

forth above via United States mail, courier, or e-mail to the following:
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       II. Information to be seized by the government

       All information described above in Section I that constitutes evidence, fruits, and

instrumentalities of violations of Title 18 U.S.C. §1343, Wire Fraud, Title 18 U.S.C. § 1001,

Material False Statements involving international terrorism, Title 18 U.S.C. §1512,

Obstruction - Witness Tampering, as described in the affidavit submitted in support of this

Warrant, including, for each Account, information pertaining to the following matters:

           (a) Information that constitutes evidence of the identification or location of the user(s)

              of the Account;

           (b) Information that constitutes evidence concerning persons who either (i)

              collaborated, conspired, or assisted (knowingly or unknowingly) the commission

              of the criminal activity under investigation; or (ii) communicated about matters

              relating to the criminal activity under investigation, including records that help

              reveal their whereabouts;

           (c) Any records, discussion, records, photographs, or information related to support of

              designated foreign terrorist organizations and entities (FTOs), including, but not

              limited to, ISIS and S-1;

           (d) Information that constitutes evidence indicating the Account user’s state of mind,

              e.g., intent, absence of mistake, or evidence indicating preparation or planning,

              related to the criminal activity under investigation;

           (e) Information that constitutes evidence concerning how and when the Account was

              accessed or used, to determine the geographic and chronological context of account

              access, use, and events relating to the crime under investigation and to the Account

              user;
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      (f) Any records, communications, photographs, documents, logs, media files, or

          attachments made or sent by the Account user regarding Grand Jury testimony or

          information provided by witnesses to the Government;

      (g) Any records, communications, photographs, documents, logs, media files, or

          attachments relating to statements made by the Account user regarding on-line chat

          rooms, social media platforms, S-1,                 S-3,                        , W-3,

          and persons linked to S-1,                                        and W-3;

      (h) Records, communications, drafts, videos, photographs and other material that is

          communicated through on-line chat rooms, social media platforms, or video-

          sharing websites;

      (i) Records, communications or other material that discuss a pending grand jury,

          criminal investigations by the FBI, and/or the identity or location of potential

         witnesses;

      (j) All records, communications, drafts, or other material that discuss ISIS; any

          FTOs; terrorist attacks, actions, communications, or planning; foreign terrorist

          organizations, or persons who have ever sought to travel to ISIS territory;

      (k) All records, communications, documents, material, videos, and posters related to

          operation of S-1's on-line chat room, social media platforms, and the

          communications of all administrators;

      (1) Evidence of solicitation of money or re-distribution of solicited money;

      (m)Information that constitutes evidence concerning fundraising, transfer of money,

          conversion of money, concealing information about transactions, wire fraud or
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          other financial fraud by the Account user, persons communicating with the Account

          user, or others connected to S-1;

      (n) Evidence related to the deletion, removal or destruction of possible evidence of

          possible criminal activity, including electronic information (including user-

          generated content and content which the user received), phones, computers, files,

          documents, photographs or other media;

      (o) Records of or information about Internet Protocol addresses associated with the

          Account and its activity;

      (p) Records, communications, drafts, photographs, videos, or other material that

          discuss traveling overseas to live in a country where ISIS was present, join a foreign

          terrorist organization, or avoid detection by law enforcement;

      (q) Records, communications, drafts, videos, photographs and other material that is

          communicated through on-line chat rooms, social media platforms, or video-

          sharing websites that host or contain content produced by S-1, ISIS-affiliated

          organizations, or any other foreign terrorist organization;

      (r) Information related to financial information, accounts, ledgers, and access to

          monetary instruments, goods, and funds, including use of intermediaries to disperse

          or collect funds and goods;

      (s) Evidence related to the Account user’s deletion of electronic information, including

          emails, documents, receipts, and transactions related to S-1 or any person connected

          with S-1; and,

      (t) Evidence related to the Service Provider’s deactivation of accounts, where

          applicable, and the Terms of Service which were violated.
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          As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); draft or deleted records; and any photographic form (such as microfilm, microfiche,

prints, slides, negatives, videotapes, motion pictures, or photocopies).

   III.       Government procedures for warrant execution

          The United States government will conduct a search of the information produced by

Facebook and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States. The review of electronic data produced by Facebook in response to

this warrant may be conducted by any government personnel assisting the investigation, who may

include, in addition to law enforcement officers and agents, analysts, attorneys for the government,

attorney support staff, and technical experts. Pursuant to this warrant, the FBI may deliver a

complete copy of the seized, copied, or disclosed electronic data to the custody, control of attorneys

for the government and their support staff for their independent review.

          Law enforcement personnel will then seal any information from Facebook that does not

fall within the scope of Section II and will not further review the information absent an order of

the Court. Such sealed information may include retaining a digital copy of all information received

pursuant to the warrant to be used for authentication at trial, as needed.
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                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)

        I, _________________________________, attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. I am employed by _________________________________
(“PROVIDER”), and my title is ____________________________________________________.
I am a custodian of records for PROVIDER, and I am qualified to authenticate the records attached
hereto because I am familiar with how the records were created, managed, stored, and retrieved. I
state that the records attached hereto are true duplicates of the original records in the custody of
PROVIDER. The attached records consist of:

        ________________________________________________________________________
        [GENERALLY DESCRIBE RECORDS (pages/CDs/megabytes)]

        I further state that:

        a.     all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with knowledge
of those matters, they were kept in the ordinary course of the regularly conducted business activity
of PROVIDER, and they were made by PROVIDER as a regular practice; and

      b.      such records were generated by PROVIDER’s electronic process or system that
produces an accurate result, to wit:

                1.     the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of PROVIDER in a manner to ensure that they are true duplicates of the
original records; and

                2.     the process or system is regularly verified by PROVIDER, and at all times
pertinent to the records certified here the process and system functioned properly and normally.

       I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the
Federal Rules of Evidence.




 Date                                 Signature
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH                       Case No. 20-sc-00732
 FIVE ACCOUNTS STORED AT
 PREMISES CONTROLLED BY
 FACEBOOK, INC. PURSUANT TO 18
 U.S.C. § 2703 FOR INVESTIGATION OF                Filed Under Seal
 VIOLATION OF 18 U.S.C. § 1512


Reference: USAO                      Sub'ect Accounts: Facebook User IDs
                                                                and Instagram              Account
                    with User ID

                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

                                                                                             being

first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with four Facebook accounts — that is, User IDs

                                         and                      — stored at the premises owned,

maintained, controlled, or operated by Facebook, Inc., an electronic communications services

provider and/or remote computing services provider which is headquartered at / which accepts

service at 1601 Willow Road, Menlo Park, California. Additionally, this application for a search

warrant requests information associated with the Instagram account                        (User ID

            that is stored at premises owned, maintained, controlled, or operated by Facebook, Inc.

The information to be searched is described in the following paragraphs and in Attachment A.

This affidavit is made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),
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2703(b)(1)(A) and 2703(c)(1)(A) to require Facebook, Inc. ("Facebook" or the "Provider") to

disclose to the government copies of the information (including the content of communications)

further described in Section I of Attachment B. Upon receipt of the information described in

Section I of Attachment B, government-authorized persons will review that information to locate

the items described in Section II of Attachment B, using the procedures described in Section III of

Attachment B.




       3.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is



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intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

        4.       Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that

("             ") has committed violations of 18 U.S.C. §1343 (Wire Fraud), 18 U.S.C. §1001(a)(2)

(material false statements in an investigation involving international terrorism); and violations of

18 U.S.C. § 1512 (Obstruction of Justice—Witness Tampering) have been committed by



("           "). There is also probable cause to search the information described in Attachment A

for evidence, instrumentalities, or fruits of these crimes further described in Attachment B.

                                           JURISDICTION

        5.       Pursuant to 18 U.S.C. §§ 2703(a), (b)(1)(A) & (c)(1)(A), the Government may

require a provider of an electronic communications service or a remote computing service, such

as the Provider, to disclose all stored content and all non-content records or other information

pertaining to a subscriber, by obtaining a warrant issued using the procedures described in the

Federal Rules of Criminal Procedure.

        6.       This Court has jurisdiction to issue the requested warrant because it is a "court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is "a district court of the United States . . . that — has jurisdiction

over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

acts or omissions in furtherance of the offenses under investigation occurred within Washington,

D.C., see 18 U.S.C. § 3237. Additionally,                                                         find the



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criminal offenses under investigation began or were committed upon the high seas, or elsewhere

out of the jurisdiction of any particular State or district. See 18 U.S.C. § 3238.

         7.      When the Government obtains records under § 2703 pursuant to a search warrant,

the Government is not required to notify the subscriber of the existence of the warrant. 18 U.S.C.

§ 2703(a), (b)(1)(A), (c)(2) & (3). Additionally, the Government may obtain an order precluding

the Provider from notifying the subscriber or any other person of the warrant, for such period as

the Court deems appropriate, where there is reason to believe that such notification will seriously

jeopardize an investigation. 18 U.S.C. § 2705(b).

                                  STATUTORY VIOLATIONS

Wire Fraud


         8.      Title 18, United States Code Section 1343 criminalizes knowingly devising a

scheme for obtaining money by means of false pretenses or causes to be transmitted by means of

wire in interstate commerce any signals for the purpose of executing such scheme. 18 U.S.C.

§1343.

Material False Statements Involving International Terrorism


         9.      Title 18, United States Code Section 1001 criminalizes knowingly and willfully

making any materially false, fictitious, or fraudulent statement or representation in any matter

within the jurisdiction of the executive branch of the United States. 18 U.S.C. §1001(a)(2). If

the matter involves domestic or international terrorism, the maximum penalty is eight years

incarceration.

Obstruction -- Witness Tampering



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       10.     Title 18, United States Code Section 1512 criminalizes knowingly and corruptly

persuading another person, or attempting to do so, with the intent to cause the person to withhold

testimony from an official proceeding. 18 U.S.C. § 1512.

                                      PROBABLE CAUSE

                  Background on ISIS and Its Internet Recruitment Efforts

       11.     The FBI has been investigating the use of the Internet and social media by foreign

terrorist groups, including the Islamic State and al-Sham (“ISIS”). On or about October 15, 2004,

the U.S. Secretary of State designated al-Qaeda in Iraq (“AQI”), then known as Jam 'at al Tawhid

wa'al-Jahid, as a Foreign Terrorist Organization (“FTO”) under Section 219 of the Immigration

and Nationality Act (“INA”) and as a Specially Designated Global Terrorist (“SDGT”) entity

under section 1(b) of Executive Order 13224. On or about May 15, 2014, the Secretary of State

amended the designation of al-Qaeda in Iraq as an FTO under Section 219 of the INA and as a

SDGT entity under section 1(b) of Executive Order 13224 to add the alias Islamic State of Iraq

and the Levant (“ISIL”) as its primary name. The Secretary also added a number of aliases to the

ISIL listing, including: The Islamic State of Iraq and al-Sham, the Islamic State of Iraq and Syria,

ad-Dawla al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furqan

Establishment for Media Production (collectively referred to herein as “ISIS”). On September 21,

2015, the Secretary added the following aliases to the FTO listing: Islamic State, ISIL, and ISIS.

ISIS remains a designated FTO.

       12.     Based on your affiant’s training and experience, I know that: (a) Sunni extremists

and others, who are not citizens or residents of Syria and Iraq, traveled to Syria and Iraq to join




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ISIS, an act they commonly refer to as "hijrah" 1; (b) foreign fighters commonly entered Syria by

crossing the border from Turkey or Jordan; (c) foreign fighters from Western countries traveled to

locations in Turkey, including Istanbul, and then traveled to towns closer to the border where they

were brought into Syria to join ISIS; (d) Abu Bakr al-Baghdadi was the leader (or "Caliph") of

ISIS before he was killed by U.S. forces on or about October 26, 2019; (e) since on or about

September 22, 2014, ISIS has advocated for the death of Americans and Europeans, including

civilians, by any means necessary, including beheading, and its leadership gave blanket approval

for this indiscriminate killing by individuals residing in these countries.

         13.      To gain supporters, recruit fighters, and raise funds, ISIS spreads its message of

violent jihad2 using social media platforms, such as Twitter, Facebook, YouTube, Instagram, and

Paltalk. On these platforms, ISIS advocates post audio and video files that include recruitment

messages and updates of events in Syria and Iraq. Online chat rooms controlled by ISIS advocates

further effectuate this support.

         14.     One such online community was

                       which contained audio of speeches made by SUSPECT 1 ("5-1"). S-1 was




1 Based on my training and experience, I know "hijrah" generally means migrations, and in this context refers to
travel to engage in jihad.

2 Based on my training and experience, I know "jihad" is an Arabic word which literally means striving or
struggling, but in this context it refers to a holy war, fight, or struggle against the enemies of Islam.

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numerous statements inciting violence and supporting ISIS, its former leader al-Baghdadi, al-

Qaeda, and Osama bin Laden.

and in support of ISIS.
                                        a     ontained recorded lectures of S-1 proselytizing on behalf of

                                   I have viewed the■ site and am familiar with its contents and

organization.

           15.      S-1 is not a U.S. erson an




3
    Your affiant understands this document to be an official marriage registration in =.

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                                               Role as an          • dministrator

         18.     On or about March 20, 2014,                      received an email welcoming her as a new

AT Administrator and assigning her the moniker



                     was advised that lying to the FBI would constitute a violation of federal law,

and in that interview she initially told the FBI Agents that, "I was not an Administrato

               later acknowledged she would sometimes help in the class and login with an

Administrator account.         Later in the interview,                       admitted that she was an

Administrator often over the past year, and that her involvement varied prior to that. As ar

Administrator, she stated that she would take notes and post them on the I               website, post Quranic

verses and fmd hadith5 during lectures, as well as, advertise the lectures on social media for S-1.

        19.                                                         W-26 indicated that it visited the online

AT chat room.



4On August 2, 2019, the Honorable G. Michael Harvey of the United States District Court for the District of
Columbia issued a search and seizure warrant for information associated with five Google accounts used by or
associated with S-1 and/or           . In response to the warrant, Google provided this email among others.

 "Hadith" is a collection of traditions containing sayings of the Prophet Muhammad that is one of the major sources
of guidance for Muslims.
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                       W-2 reported that the primary AT Administrator used the kunya, 7

                                 stated in an interview with FBI Agents that                             ' was a

name she used on social media and/or communication accounts.                         Service provider records

confirmed this fact. As such, your affiant believes that                             used the moniker

                 when serving as anAdministrator for S-1.

           21.      W-2 further indicated that                     was essentially S-1's secretary and was

aware of S-1's activities. W-2 also described                       as the lead Administrator in the Mc hat

room. W-2 explained that                      handled all of S-1's correspondence, designed online posters

to advertisi lectures, facilitated lectures, coordinated the posting of hadith and Quranic verses

in the chat room, monitored. chat room discussions, and posted audio o11 lectures to ti

website.

           22.                   was also actively involved in fundraising and collecting donations for

the operation of thee enterprise. On January 5, 2016, a local law enforcement agency advised

the FBI that during anidiscussion on December 21, 2015, a user name known to be associated

with S-1 posted the following: "according to Shariah we kill apostates" and "If they turn back from

Islam then kill them. Surah 4:89". Later in the same chat room, an individual believed to be

another AT Administrator posted the following solicitation for funding, "DONATE TO THE




7
    "Kunya" is a term that can be used to describe a nickname or an honorary Islamic name for someone.
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DAWAH8 OF [S-1]- EMAIL TO:::: [Email Address 1] - TO ASK FOR DIRECTIONS ON HOW

TO USE [MONEY TRANSMITTING SERVICE 1 ("MTS1")] OR [MONEY TRANSMITTING

SERVICE 2 ("MTS2")]                JZK9".

              23.     Further, on January 25, 2016, a local law enforcement agency advised the FBI that

on January 18, 2016.

                                                                  During this conversation S-1 asked the

■to            send money to                       sing a specific money transmitting service, hereafter

referred to as "MTS1," under S-1's                 s name, which S-1 identified as "M                        ,,




Excerpts of the conversation are as follows:

                     shaikh i would like to make donation for the dawa what is the best way?

              S-1: the best way is via [MTS1]

              S-1: send it to rt

              S-1: her name is:

              S-1:

                     okay insh Allah

              S-1:

              S-1: how much u are planning to send

                     to i need an account number or just send it in her name insh Allha?

              S-1: no account no needed




8
          (variation "dawa") means the proselytizing or preaching of Islam.
    " Dawah   "

9
   JZK is often used as an abbreviation for "JazakAllah Khair", which is an Arabic phrase meaning "May God
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reward you."

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              24.     Your affiant is aware that similar solicitations for donations occurred regularly in

               hat room. In fact, shortly after becoming an administrator in March 2014,
    thN
    sought to expand the funding base of AT to include other social media platforms. On June 7, 2014,

                    sent an email to an individual using the nickname

                    suggested they begin posting for donations on Facebook, Twitter, the blog, and in the

    Paltalk chatroom.                     acknowledged in the email that in a separate conversation, another

.        Administrator advised her she would need S-1's permission to make this expansion because

    he believed the public solicitation for donations could cause the freezing of S-1's latest MTS1 and

    MTS2 accounts. A review of                            emails identified an earlier email on June 3, 2017, in

    which this         Administrator advised                       that she would need "Shaikh's" approval prior

    to publically soliciting for donations due to concerns that the Shaikh's "latest" accounts may get

    frozen.                 responded to the other           Administrator that it was "a dilemma".

    MTS1 and MTS2 Financial Recordsfor

              25.      Since April 2, 2012, S-1 has been blocked or interdicted by MTS1 from using its

    services.11 The FBI's review of records provided by MTS1 in January 2018 indicated that from

    in or about November 2014 to December 2016,                                         appeared to have received




    10 Your affiant is aware the term "Muqatil" can be translated to mean "fighter" or "combatant" and often refers to a
    combatant in the military context. The nickname was associated with the email account, and email service provider
    records revealed multiple exchanges in which S-1 identified himself by name and instructed recipients to use this
    email address because he did not trust his other account, which your affiant believes is in reference to an account using
    an honorific and S-1 's last name.




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approximately $24,000 through approximately 97 separate transactions via MTS1 while residing

in            with S-1. These payments were from various senders in the United States, United

Kingdom, and Canada, among other countries. MTS1 records indicated that                       utilized

approximately three different forms of her own identification at approximately 16 different

locations throughout •         to pick up these funds. Your affiant believes based on S-1's online

fundraising efforts and                 role as             Administrator and S-1'            the wire




                                                  an
transfers sent to            were sent to, or on behalf of, S-1. MTS1 indicated that it "interdicted,"

or blocked,                from using its money transfer services in or around December 2016

because MTS1 assessed                   activity to be consistent with terrorist financing.

        26.      MTS2's records revealed that S-1 was blocked from using its services following

the OFAC's designation of S-1 in or around December 2017. MTS2 indicated S-1 was put on a

watch list maintained by a third party vendor in 2004 as a result

                                         however, MTS2 did not subscribe to this watch list at the

time. The FBI's review of records provided by MTS2 indicated that from in or about August 2014

to December 2016,                appeared to have received approximately $1,250, via MTS2. These

payments were from senders in different countries. MTS2 records further indicated that the

recipient (ME)           utilized three different forms of her own personal identification to receive

these payments.

FBI Interview of S-4 about money transfers to

        27.      The FBI conducted voluntary interviews of S-4 in July and August 2017. In those

interviews, S-4 was asked about its contacts and financial support of S-1, and S-4 made

numerous false statements about its contacts with S-1, and denied providing any money to S-1

directly or indirectly through other persons.

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                                                                                               S-4

is one of the individuals who sent money to              using MTS1. During a subsequent

interview with FBI Agents and Assistant United States Attorneys

                    -4 stated that it contacted S-1 in 2016 and asked if it could send money to 5-

1. S-4 stated that S-1 instructed it to send money to            using MTS1 because

              name was "clean." S-4 understood the term "clean" to mean that                 was

not a terrorist and the transaction to S-1 would be completed successfully if sent through



       28.     A review of S-1 email records obtained from legal process revealed that on June

5, 2016, S-4 emailed S-1: "Salaam, I would like to give donation of 50 dollars whichever way

possible. Its what I can afford to do as of now, I know its not much. How would I go about doing

so?" On June 5, 2016, S-1 responded: "wa alaikum salam wrwb. You may send it via [MTS1] to

my wife's name                                               Pls use your real name to send it in

case of a hiccup u can claim your money back.              name is clean so you shud be fine

insha allah. What city do u live in I forgot?"

       29.     The FBI's review of records provided by MTS1 in January 2018 revealed two

transactions in June 2016 and December 2016, in which S-4 sent by wire approximately $50 and

$300, respectively, to

       30.     S-4 stated it did not know if S-1 was being watched by law enforcement

authorities, and indicated that it also communicated directly with            via a messaging

application (hereinafter "MA1"), which utilizes a mobile electronic device and the internet. S-4

also told the FBI that it sent MA1 messages to             at what it believed to be

cellular phone. Your affiant is aware that persons who engage in criminal activity will often

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attempt to hide or obscure their financial transactions through friends, confidants, or family

members to avoid detection by law enforcement. MTS1 also indicated that it blocked another

attempted transaction with S-4 to S-1, through                on April 6, 2017.


FBI Interview of                aboutfinancial transactions on January 25, 2018

          31.     During                voluntary interview with FBI Agents

                                                                   stated that S-1 had a bank

account in              but "they closed it down." When asked if              ever had a bank

account closed or a fmancial transaction blocked,                responded, "No because I don't do

any weird transactions, my stuff is legit." When asked about accepting donations on S-1's

behalf,                initially indicated that she accepted money on S-1's behalf approximately

two years ago for Eid, an Islamic holiday.                was directly asked if she ever accepted

any donations or any contributions from anyone in the world other than that Eid.

responded that there may have been a few other times. When asked if there were more or less

than ten other instances outside of Eid in which she accepted money,                 responded,

"Less than, maybe even five times. I'm-it was probably less than that `cuz I didn't like that

whole business."                 again reiterated that she did not accept money on S-1's behalf

outside of those few occasions.

FBI Interview of                aboutfinancial transactions on October 25, 2019

          32.     On October 25, 2019,              was interviewed by FBI Agents at her

                                           FBI Agents again advised               that lying was a

crime under Title 18 U.S. Code 1001, and                 acknowledged that she understood.

                stated that she only accepted a miniscule amount of money and it was not to support


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S-1's activities or the AT dawah.                  explained that she was "leery" about receiving

money because it could hurt her account, and her standing.                  later stated that S-1 made

money that was basically for their living, but she was not familiar with his money because she

had no part in it.

         33.    Your affiant believes                knowingly made false statements to FBI Agents

about her involvement in collecting funds on behalf of S-1 during an intervie



                                  As discussed above,                 received approximately 100

wire transfers via MTS1 and MTS2 between August 2014 and December 2016, and at least five

of these transfers were identified by S-4 and S-5 as having been intended for S-1.

         34.    Based on the information discussed herein, your affiant believes                and

S-1 devised a scheme to defraud MTS1 and MTS2 wherein S-1 directed followers to wire

funds via MTS1 and MTS2 to                   instead of directly to S-1. Through this scheme, your

affiant believes             and S-1 obtained money wired through MTS1 and MTS2 under false

pretenses: that funds were being wired through MTS 1 and MTS2 for persons other than S-1,

namely               , when in truth the money was intended for, and provided to, S-1. Your

affiant believes this scheme was executed by S-1 and                  because               name

was "clean" and S-1 and                 believed                name had not yet been blocked by

MTS1 or MTS2.

         35.    Furthermore, your affiant believes                visited numerous MTS1 and MTS2

branch locations in            , collected funds from wire transfers using multiple forms of

identification, and lied to FBI agents about her activity because she was attempting to conceal her

involvement in the scheme. Your affiant notes that                  acknowledged she "...didn't like

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that whole business" in the context of collecting funds on behalf of S-1 and was "leery" of it, but

your affiant believes             nonetheless participated in this scheme despite the possible legal

ramifications.

                  FBI Investigation of other members of the

        36.      In September of 2014,                            W-1, reported to the FBI that

                                         '), and SUSPECT 3 ("S-3")12, both of whom are

              were vocal supporters of ISIS and espoused their desire to join the terrorist

organization. W-1 reported that              lived in the same residenc

as                 and accepted his and S-3's views pertaining to ISIS.13 W-1 indicated that

              and S-3 watched ISIS-related videos in the living room while                 cooked.

W-1 recalled one particular instance in 2014, during Ramadan, when                  and S-3 viewed

a video depicting the killing of a Shia male and praised the methodical manner in which ISIS killed

people. Notably, this was around the time that                               W-1 further indicated

that both               and S-3 would get excited about the videos and both stated that killing

people was the right way to do things.




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           38.      As discussed above, in August 2014,

The ceremony occurred in                      and was attended b



and W-3 were known close associates of                             and other members o




           39.      On or about January 2, 2012, W-3



                                                                 While celebrating Eid, W-3 met




14
  Your affiant is aware the term "nasheed" can refer to vocal music that is popular in the Islamic world and
generally makes reference to Islamic beliefs, history, religion, and current events. Your affiant is further aware that
many ISIS productions utilize nasheeds.




16
     For consistency with other legal processes, witnesses and suspects may not be identified in sequential order.


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         40.      The group, which included W-3,                                                           S-3, and

other tenants in                    residence participated together in social activities and in practicing

Islam. W-3 indicated that since it was new to the religion, it obtained much of its religious

guidance from                                                 , and S-3. Some of the earliest material W-3

was shown by the                     included the Light Revelations series' on YouTube. Your affiant

knows this series to include a number of videos supportive of ISIS, but less provocative than many

produced by the terrorist group. W-3 also reported that the group showed S-1's lectures to W-3,

and these became one of W-3' s primary sources of information on Islam.

         41.      In August 2014, W-3 traveled with                                                     , S-3, W-4,

and S-7 to            , on the aforementioned trip where                                        W-3 indicated that

during this trip, the group discussed the topic of ISIS with S-1. According to W-3, S-1 provided

the group with justification that ISIS was legitimate and that Muslims owed their allegiance to Abu

Bakr al-Baghdadi and the Islamic State. W-3 also stated that S-1 further instructed the group that

in order to be considered Muslim, they needed to make hijrah to ISIS territory because it was the

only acceptable location. Furthermore, W-3 stated the group discussed the requirements for men




17 The Light Revelations series was listed in the "Must Watch Videos" section of a publication titled, "The Revived
Caliphate," a 106-page ISIS-aligned pdf booklet shared amongst the group members. "The Revived Caliphate"
booklet described the Light Revelations series as videos that "...summarise all events about the Caliphate in Syria in
a positive light. Quality and dramatic, Highly Recommended. Links to videos can be found at:
https://twitter.com/EnterTheTruthCo". The booklet provided references to numerous other ISIS-produced or ISIS-
aligned media products.

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to engage in jihad — women could choose whether or not they wanted to fight, and

explained what life would be like for a woman living in ISIS-controlled territory. 18

        42.      W-3 reported that after returning to the United States in August 2014, the group

agreed it should travel together to make hijrah to ISIS territory. 19 W-3 indicated the group

discussed the preparations they would need to undertake before making hijrah, including: saving

money, preparing physically, and gaining more knowledge about Islam. W-3 indicated that W-3

and             began saving money for making hijrah to ISIS territory, and began using a savings

envelope to track their savings and expenditures. W-3 and W-4 confirmed that

          , S-3, W-3, and others watched ISIS-created propaganda videos such as "Flames of

War,"20 which they viewed on multiple occasions, and talked about their desire to join ISIS in Iraq

or Syria and fight against its enemies.

        43.       Evidence obtained during the investigation confirms that the group continued

listening to S-1's lectures and would regularly receive communications from

advertising upcoming topics including those pertaining to ISIS. For example, on September 3,

2014,                 emailed W-3,                       S-3, and others a poster advertising a conference

titled, "Al Khilaafah; Allah's Governance on Earth" scheduled for September 6, 2014, and



18
            and W-4 were interviewed about their discussions with S-1 while in M,       and they both denied or
did not recall discussing ISIS with S-1. W-4 noted, however, that the group's view towards ISIS became more
amplified over time beginning in 2014.

19 W-4 confirmed that the group discussed making hijrah to ISIS territory, but that W-4 was not intending to go with

them if they ever decided to attempt to travel.

20
  In September 2014, ISIS released a documentary-style video on Twitter titled, "Flames of War — Fighting Has
Just Begun". The video, produced by ISIS's al-Hayat Media Center, was approximately 55-minutes in length and
highlighted some of ISIS's major operations in Syria, including a battle at the Menagh Airbase near Allepo. The
video is narrated by an English-speaker and the final shot in the production shows masked ISIS fighters executing
kneeling men.

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featuring S-1 and other jihadist preachers in the United Kingdom.                   directed recipients

of the email to attend and invite others.               further noted, "This conference is not to be

missed." During the conference, S-1 and other speakers promoted ISIS and justified its leader,

Abu Bakr Al Baghdadi. From 2014-2017,                    regularly sent private messages containing

promotional materials for S-1's lectures to W-3,                     S-3,            and others in the

group.

         44.   In May 2015,                 provided instructions to W-3 on how to donate to t

dawah, which involved sending money via MTS1 in                             name. W-3 understood the

purpose of the donation was to keep thEy        ebsite running, and that W-3 should send the money

in               name because the transaction might be blocked if it was sent to S-1.

         45.   In April 2016,                 also requested W-3's assistance in translating S-1's

lecture notes into a different language. W-3 understood                     and S-1 were attempting to

grow their audience.              and S-1 suggested W-3 not use W-3's real name when publishing

translations online to make it more difficult to identify him/her.




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           48.      During            interview with FBI Agents in the District of Columbia on

October 25, 2019, she declined to identify anyone with whom she had discussed the ongoing legal

proceedings.                 denied having conversations with individuals who received "notices"

about what they should say, or whether to answer questions by falsely stating one does not

remember or does not recall.                 stated she had told people who got notices that they




23   See supra Footnote 5.

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should answer questions honestly because they had done nothing wrong, but that if the person did

not recall something, they should not speak on the topic.




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          53.                                                     W-3 reported that

                and                          so contacted W-3 over social media.25               sent

W-3 a Facebook message from he                          count claiming that                 neighbor

was looking for a bilingual babysitter and asking if W-3 was interested. As discussed further

herein,                  "Rabiah Kok" Facebook account is associated with Facebook User ID

                      . W-3 interpreted this message as a pretext to engage her/him in conversation

about cooperation with the FBI because it was aware that              never talked to her neighbors.

After W-3 did not respond,                followed up with another Facebook message containing a

long audio lecture by an unknown man. After listening to only a short portion of it, W-3 deleted

the message and could not recall its contents, however, W-3 believed                 sent this lecture

to intimidate W-3 and discourage it from cooperating with authorities.




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          54.                                                          W-3 reported that

contacted W-3 over Instagram and asked how W-3 was doing. After a short exchange, W-3

ignored                    follow-up message asking about W-3's employment.

           lso reached out to W-3, which W-3 believed was unusual. W-3 reported that it had only

talked to                   fiancée once before when W-3 was at                         residence and

                was speaking to her on FaceTime.

        55.      Based on the foregoing, your affiant believes there is probable cause to believe that

                            and          , are using social media to harass W-3, obstruct justice, and

obtain information related to the investigation.

                          SUMMARY OF TARGET ACCOUNTS

Facebook User ID

        56.      As noted above,                 used her "Rabiah Kok" account to contact W-3

                                                        FBI review of publically-available information

revealed a Facebook account with profile name                      and a profile picture of

wearing a pink and white hijab. The account was associated with User ID                           and

registered tc                 and                  phone number, +                . Records provided

by Facebook pursuant to a 2703(d) court order revealed                  sent W-3 private messages on

August 1, 2019 and again on October 9, 2019.

Facebook User IDs                         and

        57.      FBI review of publically-available information revealed two Facebook accounts

associated with             both of which featured profile pictures of            and were associated

with Facebook User IDs                              and                         Records provided by

Facebook revealed the registered names for Facebook accounts                                      and

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                       wei                               =,       " respectively, and were registered

using                email address,                           and telephone number, +

According to records provided to the FBI from a 2703(d) court order,             sent W-3 numerous

private messages from these accounts between May 16, 2019 and October 9, 2019.

Facebook User ID

        58.      FBI review of publically -available information revealed a Facebook account with

W-3' s name as the profile name, a profile picture showing W-3, and W-3' s known date of birth

listed in the timeline. This account was associated with Facebook User ID

and was registered to W-3's real name and current phone number. Records provided by

Facebook pursuant to a 2703(d) court order revealed W-3 received messages from both of

              accounts between May 16, 2019 and October 9, 2019. There were no messages

exchanged with                                   ccount, which your affiant believes is because W-3

deleted those messages as previously communicated to FBI Agents, and they were not retained

by Facebook.

Instagram Account                           User ID

        59.      FBI review of publically-available information revealed an Instagram account with

a profile picture of                  and various photos of                 The account was named

                       d associated with User ID                    Records provided by Instagram

indicated      the     account     was     registered    to                        email    address,

                                 and phone number, +                   Furthermore, records provided

by Instagram pursuant to a 2703(d) court order revealed three messages between                   and

W-3 from July 23, 2019 to July 25, 2019.



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       60.     On or about September 1, 2019, Facebook was served with a records preservation

request under 18 U.S.C. § 2703(f) related to Facebook User IDs                         and

                    . On July 22, 2019, Facebook was served with a records preservation request

related to Facebook User IDs                       and                      On November 7, 2019,

Facebook was served with a records preservation request related to Instagram User ID


               BACKGROUND CONCERNING FACEBOOK'S ACCOUNTS

       61.     Facebook is the provider of the internet-based account(s) identified by User IDs

                                                              and

       62.     Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com ("Facebook"). The website is owned and

operated by Facebook. Facebook allows users to establish accounts with Facebook, and users can

then use their Facebook accounts to share written news, photographs, videos, and other

information with other Facebook users, and sometimes with the general public.

       63.     Facebook asks users to provide basic contact and personal identifying information

to Facebook, either during the registration process or thereafter. This information may include the

user's full name, birth date, gender, contact e-mail addresses, Facebook passwords, Facebook

security questions and answers (for password retrieval), physical address (including city, state, and

zip code), telephone numbers, screen names, websites, and other personal identifiers. Facebook

also assigns a user-identification number ("user ID") to each account. Facebook identifies unique

Facebook accounts by a user's e-mail address, the user ID, or the username associated with a

Facebook profile.

       64.     Facebook users may join one or more groups or networks to connect and interact

with other users who are members of the same group or network. Facebook assigns a group
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identification number to each Facebook group. A Facebook user can also connect directly with

individual Facebook users by sending each user a “friend” request. If the recipient of a “friend”

request accepts the request, then the two users will become “friends” for purposes of Facebook

and can exchange communications or view information about each other. Each Facebook user’s

account includes a list of that user’s “friends” and a “News Feed,” which highlights information

about the user’s “friends,” such as profile changes, upcoming events, and birthdays.

       65.     Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Internet, including people who are not Facebook users. A

Facebook user can also create “lists” of Facebook “friends” to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook.

       66.     Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post “status” updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items available

elsewhere on the Internet. Facebook users can also post information about upcoming “events,”

such as social occasions, by listing the event’s time, location, host, and guest list. In addition,

Facebook users can “check in” to particular locations or add their geographic locations to their

Facebook posts, thereby revealing their geographic locations at particular dates and times. A

particular user’s profile page also includes a “Wall,” which is a space where the user and his or

her “friends” can post messages, attachments, and links that will typically be visible to anyone

who can view the user’s profile.

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       67.     Facebook allows users to upload photos and videos, which may include any

metadata such as location that the user transmitted when s/he uploaded the photo or video. It also

provides Facebook users the ability to “tag” (i.e., label) other Facebook users in a photo or

video. When a user is “tagged” in a photo or video, he or she receives a notification of the “tag”

and a link to see the photo or video. For Facebook’s purposes, the photos and videos associated

with a Facebook user’s account will include all photos and videos uploaded by that user that have

not been deleted, as well as all photos and videos uploaded by any user that have that user “tagged”

in them.

       68.     Facebook users can exchange private messages on Facebook with other

users. Those messages are stored by Facebook unless deleted by the user. Facebook users can

also post comments on the Facebook profiles of other users or on their own profiles; such

comments are typically associated with a specific posting or item on the profile. In addition,

Facebook has a chat feature that allows users to send and receive instant messages through

Facebook Messenger. These chat communications are stored in the chat history for the

account. Facebook also has Video and Voice Calling features, and although Facebook does not

record the calls themselves, it does keep records of the date of each call.

       69.     In general, user-generated content and information about the account (such as a

user’s photos, “status” updates, an activity log as described below, and the like) that is written

using, stored on, sent from, or sent to a Facebook account can be indefinitely stored in connection

with that account, unless the subscriber deletes the material. Further, such user-generated content

can remain on Facebook’s servers indefinitely if not deleted by the subscriber, and even after being

deleted, it may continue to be available on Facebook’s servers for a certain period of time.



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       70.     A Facebook user also can send other Facebook users a notification indicating that

the recipient has been “poked”. Facebook “pokes” enable Facebook users to get the attention of

other Facebook users without delivering any user generated messages or other content.

       71.     If a Facebook user does not want to interact with another user on Facebook, the

first user can “block” the second user from seeing his or her account.

       72.     Facebook has a “like” feature that allows users to give positive feedback or connect

to particular pages. Facebook users can “like” Facebook posts or updates, as well as webpages or

content on third-party (i.e., non-Facebook) websites. Facebook users can also become “fans” of

particular Facebook pages.

       73.     Facebook has a search function that enables its users to search Facebook for

keywords, usernames, or pages, among other things.

       74.     Each Facebook account has an activity log, which is a list of the user’s posts and

other Facebook activities from the inception of the account to the present. The activity log includes

stories and photos in which the user has been “tagged”, as well as connections made through the

account, such as “liking” a Facebook page or adding someone as a “friend”. The activity log is

visible to the user but cannot be viewed by people who visit the user’s Facebook page.

       75.     Facebook also has a Marketplace feature, which allows users to post free classified

ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

       76.     In addition to the applications described above, Facebook also provides users with

access to thousands of other applications (“apps”) on the Facebook platform. When a Facebook

user accesses or uses one of these applications, an update about that the user’s access or use of that

application may appear on the user’s profile page.



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       77.     Facebook also retains Internet Protocol (“IP”) logs for a given Facebook user ID or

IP address. These logs may contain information about the actions taken by the user ID or IP

address on Facebook, including information about the type of action, the date and time of the

action, and the user ID and IP address associated with the action. For example, if a user views a

Facebook profile, that user’s IP log would reflect the fact that the user viewed the profile, and

would show when and from what IP address the user did so.

       78.     Depending on the user’s privacy settings, Facebook may also obtain and store the

physical location of the user’s device(s), including Global Positioning System (“GPS”) data, as

the user interacts with the Facebook service on those device(s).

       79.     Social networking providers like Facebook typically retain additional information

about their users’ accounts, such as information about the length of service (including start date),

the types of service utilized, and the means and source of any payments associated with the service

(including any credit card or bank account number). In some cases, Facebook users may

communicate directly with Facebook about issues relating to their accounts, such as technical

problems, billing inquiries, or complaints from other users. Social networking providers like

Facebook typically retain records about such communications, including records of contacts

between the user and the provider’s support services, as well as records of any actions taken by

the provider or user as a result of the communications.

       80.     Based on my training and experience, I know that providers such as Facebook also

collect information relating to the devices used to access a subscriber’s account – such as laptop

or desktop computers, cell phones, and tablet computers. Such devices can be identified in various

ways. For example, some identifiers are assigned to a device by the manufacturer and relate to the

specific machine or “hardware,” some identifiers are assigned by a telephone carrier concerning a

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particular user account for cellular data or voice services, and some identifiers are actually assigned

by Facebook in order to track what devices are using Facebook’s accounts and services. Examples

of these identifiers include unique application number, hardware model, operating system version,

Global Unique Identifier (“GUID”), device serial number, mobile network information, telephone

number, Media Access Control (“MAC”) address, and International Mobile Equipment Identity

(“IMEI”). Based on my training and experience, I know that such identifiers may constitute

evidence of the crimes under investigation because they can be used (a) to find other Facebook

accounts created or accessed by the same device and likely belonging to the same user, (b) to find

other types of accounts linked to the same device and user, and (c) to determine whether a

particular device recovered during course of the investigation was used to access the Facebook

account.

       81.     Facebook also allows its subscribers to access its various services through an

application that can be installed on and accessed via cellular telephones and other mobile devices.

This application is associated with the subscriber’s Facebook account. In my training and

experience, I have learned that when the user of a mobile application installs and launches the

application on a device (such as a cellular telephone), the application directs the device in question

to obtain a Push Token, a unique identifier that allows the provider associated with the application

(such as Facebook) to locate the device on which the application is installed. After the applicable

push notification service (e.g., Apple Push Notifications (APN) or Google Cloud Messaging) sends

a Push Token to the device, the Token is then sent to the application, which in turn sends the Push

Token to the application’s server/provider. Thereafter, whenever the provider needs to send

notifications to the user’s device, it sends both the Push Token and the payload associated with the

notification (i.e., the substance of what needs to be sent by the application to the device). To ensure

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this process works, Push Tokens associated with a subscriber’s account are stored on the provider’s

server(s). Accordingly, the computers of Facebook are likely to contain useful information that

may help to identify the specific device(s) used by a particular subscriber to access the subscriber’s

Facebook account via the mobile application.

       82.      Based on my training and experience, I know that providers such as Facebook use

cookies and similar technologies to track users visiting Facebook’s webpages and using its

products and services. Basically, a “cookie” is a small file containing a string of characters that a

website attempts to place onto a user’s computer. When that computer visits again, the website

will recognize the cookie and thereby identify the same user who visited before. This sort of

technology can be used to track users across multiple websites and online services belonging to

Facebook. More sophisticated cookie technology can be used to identify users across devices and

web browsers. From training and experience, I know that cookies and similar technology used by

providers such as Facebook may constitute evidence of the criminal activity under investigation.

By linking various accounts, devices, and online activity to the same user or users, cookies and

linked information can help identify who was using a Facebook account and determine the scope

of criminal activity.

       83.     Based on my training and experience, I know that Facebook maintains records that

can link different Facebook accounts to one another, by virtue of common identifiers, such as

common e-mail addresses, common telephone numbers, common device identifiers, common

computer cookies, and common names or addresses, that can show a single person, or single group

of persons, used multiple Facebook accounts. Based on my training and experience, I also know

that evidence concerning the identity of such linked accounts can be useful evidence in identifying

the person or persons who have used a particular Facebook account.

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         84.      Based on my training and experience, I know that subscribers can communicate

directly with Facebook about issues relating to the account, such as technical problems, billing

inquiries, or complaints from other users. Providers such as Facebook typically retain records

about such communications, including records of contacts between the user and the provider’s

support services, as well as records of any actions taken by the provider or user as a result of the

communications. In my training and experience, such information may constitute evidence of the

crimes under investigation because the information can be used to identify the account’s user or

users.

         85.      In summary, based on my training and experience in this context, I believe that the

computers of Facebook are likely to contain user-generated content such as stored electronic

communications (including retrieved and unretrieved messages for Facebook subscribers), as well

as Facebook-generated information about its subscribers and their use of Facebook services and

other online services. In my training and experience, all of that information may constitute

evidence of the crimes under investigation because the information can be used to identify the

account’s user or users. In fact, even if subscribers provide Facebook with false information about

their identities, that false information often nevertheless provides clues to their identities, locations,

or illicit activities.

         86.      As explained above, information stored in connection with a Facebook account may

provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct

under investigation, thus enabling the investigating authorities to establish and prove each element

of the offense or, alternatively, to exclude the innocent from further suspicion. From my training

and experience, a Facebook user’s IP log, stored electronic communications, and other data

retained by Facebook, can indicate who has used or controlled the Facebook account. This “user

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attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, profile contact information, private messaging logs,

status updates, and “tagged” photos (and the data associated with the foregoing, such as date and

time) may indicate who used or controlled the Facebook account at a relevant time. Further,

Facebook account activity can show how and when the account was accessed or used. For

example, as described above, Facebook logs the IP addresses from which Facebook users access

their accounts along with the time and date. By determining the physical location associated with

the logged IP addresses, investigators can understand the chronological and geographic context of

the account access and use relating to the crime under investigation. Such information allows

investigators to understand the geographic and chronological context of Facebook access, use, and

events relating to the crime under investigation. Additionally, Facebook builds geo-location into

some of its Facebook services. Geo-location allows, for example, users to “tag” their location in

posts and Facebook “friends” to locate each other. This geographic and timeline information may

tend to either inculpate or exculpate the Facebook account user. Last, Facebook account activity

may provide relevant insight into the Facebook account user’s state of mind as it relates to the

offense under investigation. For example, information on the Facebook account may indicate the

owner’s motive and intent to commit a crime (e.g., information indicating a plan to commit a

crime), or consciousness of guilt (e.g., deleting account information in an effort to conceal

evidence from law enforcement). 26



26
  At times, social media providers such as Facebook can and do change the details and functionality of the services
they offer. While the information in this section is true and accurate to the best of my knowledge and belief, I have
not specifically reviewed every detail of Facebook’s services in connection with submitting this application for a
search warrant. Instead, I rely upon my training and experience, and the training and experience of others, to set forth
the foregoing description for the Court.

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       87.     Based on my training and experience, I know that evidence of who controlled, used,

and/or created a Facebook account may be found within the user-generated content created or

stored by the Facebook subscriber.       This type of evidence includes, for example, personal

correspondence, personal photographs, purchase receipts, contact information, travel itineraries,

and other content that can be uniquely connected to a specific, identifiable person or group. In

addition, based on my training and experience, I know that this type of user-generated content can

provide crucial identification evidence, whether or not it was generated close in time to the offenses

under investigation. This is true for at least two reasons. First, people that commit crimes

involving electronic accounts (e.g., e-mail accounts) typically try to hide their identities, and many

people are more disciplined in that regard right before (and right after) committing a particular

crime. Second, earlier-generated content may be quite valuable, because criminals typically

improve their tradecraft over time. That is to say, criminals typically learn how to better separate

their personal activity from their criminal activity, and they typically become more disciplined

about maintaining that separation, as they become more experienced. Finally, because e-mail

accounts and similar Facebook accounts do not typically change hands on a frequent basis,

identification evidence from one period can still be relevant to establishing the identity of the

account user during a different, and even far removed, period of time.

              BACKGROUND CONCERNING INSTAGRAM'S ACCOUNTS

       88.     Instagram is the provider of the internet-based account(s) identified by User ID

                     (User ID=.).

       89.     Instagram owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.instagram.com. Instagram allows its users to create their

own profile pages, which can include a short biography, a photo of themselves, and other

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information. Users can access Instagram through the Instagram website or by using a special

electronic application (“app”) created by the company that allows users to access the service

through a mobile device.

       90.     Instagram permits users to post photos to their profiles on Instagram and otherwise

share photos with others on Instagram, as well as certain other social-media services, including

Flickr, Facebook, and Twitter. When posting or sharing a photo on Instagram, a user can add to

the photo: a caption; various “tags” that can be used to search for the photo (e.g., a user made add

the tag #vw so that people interested in Volkswagen vehicles can search for and find the photo);

location information; and other information. A user can also apply a variety of “filters” or other

visual effects that modify the look of the posted photos. In addition, Instagram allows users to

make comments on posted photos, including photos that the user posts or photos posted by other

users of Instagram. Users can also “like” photos.

       91.     Upon creating an Instagram account, an Instagram user must create a unique

Instagram username and an account password. This information is collected and maintained by

Instagram.

       92.     Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user profile.

This information may include the user’s full name, e-mail addresses, and phone numbers, as well

as potentially other personal information provided directly by the user to Instagram. Once an

account is created, users may also adjust various privacy and account settings for the account on

Instagram. Instagram collects and maintains this information.

       93.     Instagram allows users to have “friends,” which are other individuals with whom

the user can share information without making the information public. Friends on Instagram may

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come from either contact lists maintained by the user, other third-party social media websites and

information, or searches conducted by the user on Instagram profiles. Instagram collects and

maintains this information.

        94.     Instagram also allows users to “follow” another user, which means that they receive

updates about posts made by the other user. Users may also “unfollow” users, that is, stop

following them or block the, which prevents the blocked user from following that user.

        95.     Instagram allow users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains user

content that users post to Instagram or share through Instagram.

        96.     Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user’s feed, search

history, or profile.

        97.     Users on Instagram may also search Instagram for other users or particular types of

photos or other content.

        98.     For each user, Instagram also collects and retains information, called “log file”

information, every time a user requests access to Instagram, whether through a web page or

through an app. Among the log file information that Instagram’s servers automatically record is

the particular web requests, any Internet Protocol (“IP) address associated with the request, type

of browser used, any referring/exit web pages and associated URLs, pages viewed, dates and times

of access, and other information.

        99.     Instagram also collects and maintains “cookies,” which are small text files

containing a string of numbers that are placed on a user’s computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram. For example, Instagram

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uses cookies to help users navigate between pages efficiently, to remember preferences, and to

ensure advertisements are relevant to a user’s interests.

       100.    Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record “device identifiers,” which includes data files and

other information that may identify the particular electronic device that was used to access

Instagram.

       101.    Instagram also collects other data associated with user content. For example,

Instagram collects any “hashtags” associated with user content (i.e., keywords used), “geotags”

that mark the location of a photo and which may include latitude and longitude information,

comments on photos, and other information.

       102.    Instagram also may communicate with the user, by email or otherwise. Instagram

collects and maintains copies of communications between Instagram and the user.

       103.    As explained herein, information stored in connection with an Instagram account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, an

Instagram user’s account activity, IP log, stored electronic communications, and other data

retained by Instagram, can indicate who has used or controlled the Instagram account. This “user

attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, profile contact information, direct messaging logs,

shared photos and videos, and captions (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the Instagram account at a

relevant time. Further, Instagram account activity can show how and when the account was

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accessed or used. For example, as described herein, Instagram logs the Internet Protocol (IP)

addresses from which users access their accounts along with the time and date. By determining the

physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the account access and use relating to the crime under

investigation. Such information allows investigators to understand the geographic and

chronological context of Instagram access, use, and events relating to the crime under

investigation. Additionally, Instagram builds geo-location into some of its services. Geo-location

allows, for example, users to "tag" their location in posts and Instagram "friends" to locate each

other. This geographic and timeline information may tend to either inculpate or exculpate the

Instagram account owner. Last, Instagram account activity may provide relevant insight into the

Instagram account owner's state of mind as it relates to the offense under investigation. For

example, information on the Instagram account may indicate the owner's motive and intent to

commit a crime (e.g., information indicating a plan to commit a crime), or consciousness of guilt

(e.g., deleting account information in an effort to conceal evidence from law enforcement).

       104.    Based on the information above, the computers of Instagram are likely to contain

all the material described above with respect to Instagram account                           (User ID

           , including stored electronic communications and information concerning subscribers

and their use of Instagram, such as account access information, which would include information

such as the IP addresses and devices used to access the account, as well as other account

information that might be used to identify the actual user or users of the account at particular times.




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                  REQUEST TO SUBMIT WARRANT BY TELEPHONE
                    OR OTHER RELIABLE ELECTRONIC MEANS

       105.    I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant U.S. Attorney Tejpal

S. Chawla, an attorney for the United States, is capable of identifying my voice and telephone

number for the Court.




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                                            CONCLUSION

          106.   Based on the foregoing, I request that the Court issue the proposed search warrant

  based on probable cause to believe that the accounts contain evidence of criminal activity or

  themselves are instrumentalities, or fruits of these crimes. Because the warrant will be served on

  Facebook, who will then compile the requested records at a time convenient to it, there exists

  reasonable cause to permit the execution of the requested warrant at any time in the day or night.

  Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not required for the

  service or execution of this warrant.

          107.   The government further requests to share the information obtained from this search

  (to include copies of digital media) with any government agency investigating, or aiding in the

  investigation of this case or related matters.




                                                        Respectfully submitted,




         Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on April 3, 2020
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          DEBORAH A. ROBINSON
          UNITED STATES MAGISTRATE JUDGE




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